Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.307 Filed 01/29/21 Page 1 of 109




                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

RHONDA HENDERSON; ROBERTA FAULKS; )
and RACHEL CHURCH, on behalf of themselves )
and all others similarly situated,         ) Case No. 20-cv-12649
                                           )
                                           ) Hon. Sean F. Cox
  Plaintiffs,                              )
                                           ) Mag. J.
 vs.                                       ) R. Steven Whalen
                                           )
VISION PROPERTY MANAGEMENT, LLC; ) CLASS ACTION
VPM HOLDINGS, LLC; FTE NETWORKS, INC.; )
US HOME RENTALS, LLC; KAJA HOLDINGS, ) DEMAND FOR JURY TRIAL
LLC; KAJA HOLDINGS 2, LLC; MI SEVEN, LLC; )
IN SEVEN, LLC; RVFM 4 SERIES, LLC; ACM )
VISION V, LLC; DSV SPV 1, LLC; DSV SPV 2, )
LLC; DSV SPV 3, LLC; BOOM SC; ALAN )
INVESTMENTS III, LLC; ARNOSA GROUP LLC; )
MOM HAVEN 13, LP; ATALAYA CAPITAL )
MANAGEMENT LP,                             )
                                           )
  Defendants.                              )
                                           )

                         FIRST AMENDED COMPLAINT

       Plaintiffs Rhonda Henderson, Roberta Faulks, and Rachel Church, on behalf

 of themselves and all others similarly situated (collectively, “Plaintiffs”), bring this

 civil rights class action against Defendants Vision Property Management, LLC

 (“VPM”) and its affiliated entities, (collectively, “Vision”), FTE Networks, Inc. and

 US Home Rentals, as successor organizations, and Atalaya Capital Management LP,

 for violations of the Fair Housing Act, as amended, 42 U.S.C. § 3601 et seq.



                                            1
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.308 Filed 01/29/21 Page 2 of 109




 (“FHA”), the Equal Credit Opportunity Act, 15 U.S.C. § 1691 et seq. (“ECOA”), the

 Truth In Lending Act, 15 U.S.C. § 1601 (“TILA”), and the Real Estate Settlement

 Procedures Act, 12 U.S.C. § 2601 (“RESPA”).

                              I.     INTRODUCTION

       1.     This action arises out of Vision’s discriminatory targeting of Black

 homebuyers for abusive credit terms in home purchase transactions. Promising these

 prospective homebuyers the American dream of homeownership, Vision ensnared

 residents in predominantly Black Detroit-area communities in predatory and

 discriminatory contracts that were structured to fail. Despite Vision’s promises, few

 prospective homebuyers actually achieved homeownership. Instead, Vision’s

 practices have fueled evictions in the Detroit area.

       2.     Vision’s practices require prospective homebuyers to take on all of the

 obligations of homeownership with none of the rights. Vision sells properties in

 extremely poor condition to these would-be homeowners, who invest thousands of

 dollars and countless hours of their own labor making the home habitable, only to

 lose all of that investment and all of the money paid under the contract in the event

 of a default. Unlike a homeowner with a mortgage, who is entitled to keep the benefit

 of their labors and financial investment in a home, Vision’s purchasers do not accrue

 that benefit or build any equity. And unlike a homeowner with a mortgage, who is

 entitled to the protections of the foreclosure process in the event of default on their



                                           2
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.309 Filed 01/29/21 Page 3 of 109




 loan, Vision’s purchasers are often removed through summary eviction proceedings,

 which Vision frequently threatens in the event of late payments.

       3.     Vision induced prospective homebuyers to sign its contracts based on

 a false promise of homeownership. In reality, Vision’s practices gave prospective

 homebuyers almost no chance of success. Vision misrepresented the nature of the

 transaction, failed to disclose the cost of credit in its alternative financing

 arrangement, failed to disclose significant problems with the condition of the home

 despite having detailed inspection reports about each property, and attempted to reap

 enormous profits from its false promise of homeownership.

       4.     Vision has engaged and continues to engage in harmful and

 discriminatory housing and lending practices that have a disparate impact on Black

 homebuyers. Its property acquisition practices in southeastern Michigan—

 specifically, its reliance on bulk sales of real estate owned (“REO”) 1 properties in

 predominantly Black neighborhoods in the greater Detroit area—cause Black

 homebuyers to be disproportionately subject to its abusive and deceptive contracts.

       5.     Vision also intentionally targeted Black homebuyers for its predatory

 home purchase scheme. The locations of Vision’s properties skew heavily toward



 1
  Real estate owned, or REO, is a term used to describe a class of property owned by
 a lender—typically a bank, government agency, or government loan insurer—after
 a foreclosure auction.


                                          3
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.310 Filed 01/29/21 Page 4 of 109




 Black neighborhoods. On information and belief, this skew was caused by deliberate

 decisions to target predominantly Black neighborhoods for property acquisition. In

 Michigan, Vision targeted majority Black neighborhoods by purchasing 126

 properties from the treasurer of Wayne County, which has by far the highest Black

 population in the state (nearly 40%), while purchasing homes from no other counties.

 Further, by advertising primarily through yard signs in Black neighborhoods, Vision

 marketed its home scam in a localized manner intended to reach almost exclusively

 Black homebuyers. Vision targeted Black neighborhoods in order to attract Black

 potential homebuyers, due to their actual or perceived lack of other available options

 for homeownership. Plaintiffs Henderson and Faulks, and others like them, have

 been injured by the intentionally discriminatory targeting of Vision’s abusive and

 deceptive contracts to Black potential homebuyers.

       6.     For these reasons, Plaintiffs seek class-action relief under the FHA and

 ECOA. Plaintiffs also raise class claims under TILA, for high-cost loan origination

 violations and VPM’s failure to send periodic statements while servicing their loans.

 Plaintiffs further allege that VPM is liable under RESPA based on its improper

 handling of their escrow accounts for the payment of property taxes and insurance.

                       II.    JURISDICTION AND VENUE

       7.     Jurisdiction is conferred on this Court by 42 U.S.C. § 3613(a), 15

 U.S.C. § 1691e(f), and 28 U.S.C. §§ 1331 and 1367.



                                           4
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.311 Filed 01/29/21 Page 5 of 109




       8.     Venue is proper in this District and Division pursuant to 28 U.S.C.

 § 1391 because the claims arose in this District, the Defendants do business in this

 District, and the events giving rise to this action occurred in this District.

                                    III.     PARTIES

                                           Plaintiffs

       9.     Plaintiff Rhonda Henderson is a resident of Inkster, Michigan. She is

 Black. At all times relevant to her allegations herein, Ms. Henderson was a resident

 of Inkster in Wayne County. Ms. Henderson entered into a home purchase contract

 with Defendant Kaja Holdings 2, LLC in 2014.

       10.    Plaintiff Roberta Faulks is a resident of Inkster, Michigan. She is Black.

 At all times relevant to her allegations here, Ms. Faulks was a resident of Inkster in

 Wayne County. Ms. Faulks entered into a home purchase contract with Defendant

 Kaja Holdings 2, LLC in 2016.

       11.    Plaintiff Rachel Church is a resident of Mt. Morris, Michigan. At all

 times relevant to her allegations here, Ms. Church was a resident of Mt. Morris in

 Genesee County. Ms. Church entered into a home purchase contract with Defendant

 Kaja Holdings 2, LLC in 2015.

                                       Defendants

       12.    Defendant VPM is a Delaware limited liability company that regularly

 engages in the business of home purchase lending and home purchase transactions



                                               5
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.312 Filed 01/29/21 Page 6 of 109




 and does substantial business in the State of Michigan. VPM’s principal address is

 16 Berryhill Road, Suite 200, Columbia, South Carolina 29210. VPM is not

 registered to do business in Michigan.

       13.    VPM at all times coordinated and directly engaged in the conduct

 described in this Complaint. VPM decided which properties to acquire for its

 predatory lease with option to purchase scheme (which it called, in shorthand, its

 “LOP” program). VPM was the entity that interfaced with all members of the Class,

 established the terms of the transactions, loaned the money, and serviced the loans

 and escrows.

       14.    Defendant VPM Holdings LLC (“VPM Holdings”) is a limited liability

 company created by Alex and Antoni Szkaradek for the purpose of jointly owning

 the Affiliate Defendants, as described below, which held legal title to the properties

 acquired for Vision’s predatory scheme. VPM Holdings owns 1% of each of the

 Affiliate Defendants. VPM Holdings is a limited liability company organized under

 the laws of South Carolina, with a physical location and mailing address of 16

 Berryhill Road, Columbia, South Carolina 29210. VPM and VPM Holdings

 conducted all the property acquisition, management, rental, and sale activities, and

 all interaction with consumers and contracting activities relating to the Vision

 homes.

       15.    VPM, along with its officers and employees, manages and controls a



                                           6
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.313 Filed 01/29/21 Page 7 of 109




 large number of affiliated limited liability corporations, including Defendants Kaja

 Holdings, LLC, Kaja Holdings 2, LLC, MI Seven, LLC, IN Seven, LLC, RVFM 4,

 LLC, ACM Vision V, DSV SPV 1, LLC, DSV SPV 2, LLC, DSV SPV 3, LLC,

 Boom SC, Alan Investments III, LLC, Arnosa Group LLC, and Mom Haven 13, LP

 (collectively the “Affiliate Defendants”).

       16.    The Affiliate Defendants were created by VPM and the Szkaradeks to

 hold legal title to the properties acquired for Vision’s predatory LOP scheme. Each

 of the Affiliate Defendants is owned 49.5% by Alex Szkaradek, 49.5% by Antoni

 Szkaradek, and 1% by VPM Holdings, except for ACM Vision V, whose ownership

 structure is described below.

       17.    VPM’s officers and employees also frequently act as officers and/or

 employees of the Affiliate Defendants. The business affairs of the Affiliate

 Defendants are conducted out of single location, 16 Berryhill Road, Suite 200,

 Columbia, South Carolina. VPM, under the direction and control of Alex and Antoni

 Szkaradek, controls the sales, purchases, investment portfolios, marketing, and

 finances of the Affiliate Defendants.

       18.    The Affiliate Defendants each hold title to properties in Michigan and

 therefore, are named in the contracts with homebuyers, are named in eviction filings

 seeking to remove those homebuyers, and receive notices of building code violations

 as the record title holder.



                                              7
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.314 Filed 01/29/21 Page 8 of 109




       19.    At all times VPM, VPM Holdings, and the Affiliate Defendants acted

 in concert with each other to carry out the practices described in this Complaint.

       20.    On information and belief, Alex and Antoni Szkaradek and VPM at

 times bought, sold, and transferred properties between the various Affiliate

 Defendants without any consideration changing hands. On information and belief,

 the Affiliate Defendants are merely shell corporate structures, and are alter egos of

 Defendants VPM and VPM Holdings.

       21.    Defendant Kaja Holdings, LLC is a Delaware limited liability company

 registered with Michigan’s Department of Licensing and Regulatory Affairs to

 transact business in Michigan and is located at 40600 Ann Arbor Road E, Suite 201,

 Plymouth, Michigan 48170. Its principal place of business is 1112 Price Avenue,

 Columbia, South Carolina 29210. Defendant Kaja Holdings, LLC is managed and

 affiliated with VPM and is under the direction and control of Alex Szkaradek and

 Antoni Szkaradek.

       22.    Defendant Kaja Holdings 2, LLC is a Delaware limited liability

 company registered with Michigan’s Department of Licensing and Regulatory

 Affairs to transact business in Michigan and is located at 40600 Ann Arbor Road E,

 Suite 201, Plymouth, Michigan 48170. Its principal place of business is 16 Berryhill

 Road, Suite 200, Columbia, South Carolina 29210. Defendant Kaja Holdings 2, LLC

 is managed and affiliated with VPM and is under the direction and control of Alex



                                           8
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.315 Filed 01/29/21 Page 9 of 109




 Szkaradek and Antoni Szkaradek.

       23.   Defendant MI Seven, LLC is a South Carolina limited liability

 company registered with Michigan’s Department of Licensing and Regulatory

 Affairs to transact business in Michigan and is located at 40600 Ann Arbor Road E,

 Suite 201, Plymouth, Michigan 48170. Its principal place of business is 1112 Price

 Avenue, Columbia, South Carolina 29201. Defendant MI Seven, LLC is managed

 and affiliated with VPM and is under the direction and control of Alex Szkaradek

 and Antoni Szkaradek.

       24.   Defendant IN Seven, LLC is a South Carolina limited liability company

 registered with Michigan’s Department of Licensing and Regulatory Affairs to

 transact business in Michigan and is located at 40600 Ann Arbor Road E, Suite 201,

 Plymouth, Michigan 48170. Its principal place of business is 1112 Price Avenue,

 Columbia, South Carolina 29201. Defendant IN Seven, LLC is managed and

 affiliated with VPM and is under the direction and control of Alex Szkaradek and

 Antoni Szkaradek.

       25.   Defendant RVFM 4 Series, LLC is a South Carolina limited liability

 company registered with Michigan’s Department of Licensing and Regulatory

 Affairs and is located at P.O. Box 30054, Lansing, Michigan 48090. Its principal

 place of business is 16 Berryhill Road, Suite 200, Columbia, South Carolina 29210.

 Defendant RVFM 4, LLC is managed and affiliated with VPM and is under the



                                         9
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.316 Filed 01/29/21 Page 10 of 109




 direction and control of Alex Szkaradek and Antoni Szkaradek.

       26.   Defendant DSV SPV 1, LLC is a Delaware limited liability company

 with a principal place of business at 16 Berryhill Road, Suite 200, Columbia, South

 Carolina 29210. Defendant DSV SPV 1, LLC is managed and affiliated with VPM

 and is under the direction and control of Alex Szkaradek and Antoni Szkaradek.

       27.   Defendant DSV SPV 2, LLC is a Delaware limited liability company

 with a principal place of business at 16 Berryhill Road, Suite 200, Columbia, South

 Carolina 29210. Defendant DSV SPV 2, LLC is managed and affiliated with VPM

 and is under the direction and control of Alex Szkaradek and Antoni Szkaradek.

       28.   Defendant DSV SPV 3, LLC is a Delaware limited liability company

 with a principal place of business at 16 Berryhill Road, Suite 200, Columbia, South

 Carolina 29210. Defendant DSV SPV 3, LLC is managed and affiliated with VPM

 and is under the direction and control of Alex Szkaradek and Antoni Szkaradek.

       29.   Defendant Boom SC is a South Carolina limited liability company with

 a principal place of business at 16 Berryhill Road, Suite 200, Columbia, South

 Carolina 29210. Defendant Boom SC is managed and affiliated with VPM and is

 under the direction and control of Alex Szkaradek and Antoni Szkaradek.

       30.   Defendant Alan Investments III, LLC is a Delaware limited liability

 company with a principal place of business at 16 Berryhill Road, Suite 200,

 Columbia, South Carolina 29210. Defendant Alan Investments III, LLC is managed



                                         10
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.317 Filed 01/29/21 Page 11 of 109




 and affiliated with VPM and is under the direction and control of Alex Szkaradek

 and Antoni Szkaradek.

       31.   Defendant Arnosa Group LLC is a New Jersey limited liability

 company with a principal place of business at 4 Roosevelt Avenue, Pennington, New

 Jersey 08534. Defendant Arnosa Group, LLC is managed and affiliated with VPM

 and is under the direction and control of Alex Szkaradek and Antoni Szkaradek.

       32.   Defendant Mom Haven 13, LP, is a Texas limited liability company

 with a principal place of business at 1112 Price Avenue, Columbia, South Carolina

 29201. Defendant Mom Haven 13, LP is managed and affiliated with VPM and is

 under the direction and control of Alex Szkaradek and Antoni Szkaradek.

       33.   Defendant Atalaya Capital Management LP (“Atalaya”) is a foreign

 limited partnership organized under the laws of Delaware and is not registered to do

 business in Michigan. Its principal place of business is 780 Third Avenue, 27th

 Floor, New York, New York 10017. As described in more detail below, Atalaya

 funded and substantially participated in the design of the home purchase lending

 business of VPM.

       34.   Atalaya provided significant financing to VPM and its Affiliate

 Defendants in order to operate the LOP scheme at issue in this case. VPM

 approached Atalaya in 2012 to be a potential lender to help fund its acquisition of

 properties for its LOP program, including properties in Michigan. Atalaya consulted



                                         11
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.318 Filed 01/29/21 Page 12 of 109




 with VPM regarding the terms and structure of its LOP form agreement, received

 financial records that showed the way VPM was tracking its contracts in a manner

 similar to a land contract, and participated in decisions regarding individual

 properties and contracts that were in default.

       35.    Based on its review of the LOP form agreement and VPM financial

 records and other due diligence on and engagement with VPM, Atalaya knew or

 should have known that Vision was engaged in an illegal, predatory mortgage

 lending business in the guise of its LOP program.

       36.    Defendant ACM Vision V, LLC is a Delaware limited liability

 company registered with Michigan’s Department of Licensing and Regulatory

 Affairs to transact business in Michigan and is located at 40600 Ann Arbor Road E,

 Suite 201, Plymouth, Michigan 48170. Its principal place of business is 16 Berryhill

 Road, Suite 200, Columbia, South Carolina 29201. Atalaya, Vision’s principal

 funder, formed and controlled ACM Vision V LLC. ACM Vision V is 98% owned

 by an investment fund managed by Atalaya and 1% each owned by Alex and Antoni

 Szkaradek. ACM Vision V owned properties located in the greater Detroit area and

 was the counterparty on active LOP contracts associated with those homes.

       37.    Defendant FTE Networks, Inc. (“FTE”) is a Nevada corporation that

 bought VPM and its affiliated assets and companies in December 2019. FTE’s

 principal address is 237 West 35th Street, Suite 806, New York City, New York,



                                           12
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.319 Filed 01/29/21 Page 13 of 109




 10001. FTE purchased all or substantially all of the assets of VPM and all or

 substantially all of the equity, assets, and liabilities of Defendants VPM Holdings,

 Kaja Holdings, LLC, Kaja Holdings 2, LLC, MI Seven, LLC, IN Seven, LLC,

 RVFM 4, LLC, DSV SPV 1, LLC, DSV SPV 2, LLC, DSV SPV 3, LLC, Boom SC,

 and Alan Investments III, LLC, which included more than 3,000 residential real

 estate properties in 46 states. According to FTE’s website and public announcement

 of the merger, “Vision’s management team continue as senior executives of the

 Company and major shareholders.” Under the purchase agreement, VPM’s

 management own shares in FTE.

       38.    Defendant US Home Rentals, LLC is a Delaware limited liability

 company and is a wholly-owned and controlled subsidiary of FTE and was the

 “acquisition sub” in the purchase of VPM and its business in December 2019. On

 information and belief, US Home Rentals, LLC, as subsidiary of FTE, is the

 successor owner of all or substantially all of VPM’s assets and all or substantially

 all of the equity, assets, and liabilities of Defendants VPM Holdings, Kaja Holdings,

 LLC, Kaja Holdings 2, LLC, MI Seven, LLC, IN Seven, LLC, RVFM 4, LLC, DSV

 SPV 1, LLC, DSV SPV 2, LLC, DSV SPV 3, LLC, Boom SC, Alan Investments III,

 LLC, including the properties which the Class members currently are purchasing

 through active contracts. VPM’s management team, including the founders of

 Vision, Alex and Antoni Szkaradek, now operates US Home Rentals and are owners



                                          13
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.320 Filed 01/29/21 Page 14 of 109




 of FTE stock.

       39.    In FTE’s December 2020 Form 8-K disclosure to the U.S. Securities

 and Exchange Commission, FTE stated: “In in 2021, FTE plans to take the name of

 our principal subsidiary US Home Rentals LLC (“USHR”) as a major owner and

 operator of single-family rental (“SFR”) homes across the United States. . . USHR

 is overhauling its portfolio of approximately 3,000 homes . . . .” FTE and US Home

 Rentals are referred to herein as the “Successor Defendants.”

       40.    At the time the Successor Defendants purchased Vision’s equity, assets

 and liabilities, Vision’s unfair and deceptive practices had been well documented

 through news stories as well as publicly filed lawsuits brought by the attorneys

 general of Wisconsin, Pennsylvania, and New York.

       41.    Because VPM, VPM Holdings, Kaja Holdings, LLC, Kaja Holdings 2,

 LLC, MI Seven, LLC, IN Seven, LLC, RVFM 4, LLC, DSV SPV 1, LLC, DSV SPV

 2, LLC, DSV SPV 3, LLC, Boom SC, and Alan Investments III, LLC, merged with

 and are now wholly owned by FTE and US Home Rentals through a sale of stock

 and cash, the Successor Defendants are liable for the violations carried out by Vision

 and its affiliate entities, including claims alleged herein as they were not excluded

 in the purchase agreement signed by the parties on December 20, 2019.




                                          14
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.321 Filed 01/29/21 Page 15 of 109




                        IV.    FACTUAL BACKGROUND

     Historical Housing and Credit Discrimination in the Greater Detroit Area

       42.    Vision’s use of predatory home purchase contracts follows a long

 history of housing and credit discrimination in Detroit and the surrounding areas.

       43.    Beginning in the 1930s, the federal government stifled Black

 homeownership by granting low-interest loans and mortgages to white borrowers

 only. Using a rating system to evaluate the risk of lending in certain neighborhoods,

 the Federal Housing Administration designated predominantly Black neighborhoods

 as riskier and declined to insure mortgages in those areas, marking them in red on

 color-coded maps. This practice of “redlining” continued for decades and resulted

 in the widespread denial of credit and mortgage loans in Black neighborhoods.

       44.    The federal government also encouraged the use of racially restrictive

 covenants, which forbade sale of homes to Black buyers. By the 1940s, 80% of

 Detroit housing outside of the inner city was subject to racial covenants, which were

 enforced by whites-only neighborhood associations.

       45.    In 1947, the United States Supreme Court held that judicial

 enforcement of racial covenants violated the Equal Protection Clause of the 14th

 Amendment to the U.S. Constitution, but many real estate agents, developers, banks,

 and neighborhood associations continued to enforce racial segregation. A citywide

 association of homeowner groups called the Federated Property Homeowners of



                                          15
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.322 Filed 01/29/21 Page 16 of 109




 Detroit created a network to monitor the selling of homes to Black buyers and

 harassed real estate brokers who sold homes to them. Black residents who moved

 into white neighborhoods often faced harassment, violence, and acts of racial

 terrorism such as burning effigies and crosses.

       46.    In 1968, Congress passed the FHA, broadly prohibiting redlining and

 other forms of housing discrimination. For decades, however, homeownership and

 credit opportunities remained scarce for many Black residents.

       47.    Lacking access to a conventional mortgage, some Black residents in

 Michigan entered into land contracts (also known as contracts for deed) to try to

 achieve homeownership. These contracts were often exploitative, and their use

 declined in many places after the passage of the FHA in 1968 and the Community

 Reinvestment Act in 1977, which encouraged banks to invest in Black communities.

       48.    In the 1990s and early 2000s, some banks and mortgage companies,

 exploiting the void left by redlining and the lack of access to good credit in

 communities of color in Detroit, began offering abusive credit terms to residents of

 those previously credit-starved communities—a practice now known as “reverse

 redlining.” Lenders targeted Black communities where credit was traditionally

 unavailable and pushed the sale of high-interest and high-risk subprime mortgages,

 knowing that the borrowers would not be able to afford the loans. Black borrowers

 were more likely to receive subprime loans than white borrowers, even controlling



                                          16
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.323 Filed 01/29/21 Page 17 of 109




 for differences in borrower income and credit scores. In 2000, subprime loans

 accounted for 75% of mortgages in Detroit, one of the highest rates in the country.

       49.    By 2008, the real estate market had collapsed, and tens of thousands of

 Detroit homeowners were forced into mortgage foreclosure. By 2011, Detroit’s

 foreclosure rate had surged to almost 9% of all households. Communities of color

 were hit hardest by the foreclosure crisis. According to a 2010 nationwide study,

 Black homeowners were 47% more likely to be facing foreclosure at the time than

 white homeowners.

       50.    During the financial crisis, home values in Wayne County dropped by

 more than 80%. At the same time, property taxes were inflated and often

 unaffordable, based on out-of-date property value assessments. As a result, from

 2011 to 2015, one in four Detroit properties underwent tax foreclosure.

       51.    The rate of Black homeownership across Michigan plummeted from

 51% in 2000 to 40% in 2016, with the largest drops in Wayne, Oakland, and

 Macomb Counties. In Detroit, Black homeownership, which was approximately

 144,571 homes in 2000, fell to 93,506 homes by 2015. The financial crisis left the

 Detroit area with a glut of unsold foreclosed homes, and left many Black

 communities devastated and once again lacking access to credit and homeownership

 opportunities.




                                         17
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.324 Filed 01/29/21 Page 18 of 109




                         Vision’s Predatory Business Model
       52.    In the wake of the foreclosure crisis, when foreclosed homes were

 abundant and access to mortgage credit was extremely tight, especially in cities like

 Detroit, Inkster, and Flint, Vision developed a business model to exploit these

 inequalities in the housing market for significant financial gain. Vision bought

 dilapidated homes cheaply and in bulk and sold them at a significant markup to

 homebuyers who lacked other options for homeownership. Vision advertised its

 financial product as a pathway to homeownership for people who have dreamed of

 owning a home but had been unable to do so due to their income or credit profile.

       53.    Despite this lofty marketing pitch, which promised a pathway to

 homeownership for those who could not get traditional mortgages, Vision’s business

 model was structured to make it virtually impossible for anyone to succeed in

 becoming a homeowner.

       54.    In order to carry out its business model, Vision acquired approximately

 10,000 homes around the country, almost entirely from bulk REO sales.

       55.    Nearly 70% of Vision’s property acquisitions in Michigan were in the

 ten-county Detroit-Warren-Ann Arbor Combined Statistical Area (“Detroit CSA”),

 which encompasses Genesee, Lapeer, Lenawee, Livingston, Macomb, Monroe,

 Oakland, St. Clair, Washtenaw, and Wayne Counties.

       56.    Initially, Vision explicitly structured its transactions as land contracts.



                                           18
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.325 Filed 01/29/21 Page 19 of 109




 In a land contract, the homebuyer promises to pay a certain amount, at a certain

 interest rate, over a certain period of time, and is entitled to obtain the deed upon full

 payment of the purchase price. In Michigan, homebuyers in land contract

 transactions are entitled to certain statutory protections before their interest in the

 home can be terminated. For example, under Michigan law, a land contract can only

 be terminated through a foreclosure or forfeiture proceeding, which requires a pre-

 suit right to cure the default and at least a 90-day opportunity to redeem the property

 and avoid forfeiture by making the past due payments.

       57.    In or around 2013, Vision began changing how it labeled its

 transactions, shifting to primarily using form documents that are titled “residential

 lease with option to purchase agreement,” with a subheading “triple-net, bondable

 lease.” Upon information and belief, Vision made this change in large part to attempt

 to evade laws that applied to land contracts. For example, regulations taking effect

 around that time were making it increasingly clear that land contracts were covered

 by mortgage lender licensing laws.

       58.    Similarly, land contracts are covered by TILA as an extension of credit,

 to the extent they are for personal, family, or household purposes. This means that

 if Vision continued to openly label its transactions as land contracts, Vision would

 be obligated to disclose the interest rate, other finance charges, and repayment term

 for the loan, and would also be required to verify the borrower’s ability to pay, in



                                            19
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.326 Filed 01/29/21 Page 20 of 109




 addition to complying with licensing requirements.

       59.    Despite captioning its document as a lease with option to purchase,

 Vision continued to describe its contracts, both to its potential investors and potential

 homebuyers, as similar to a land contract.

       60.    The form LOP contract used by Vision beginning in mid-2013 stated

 that the lease and option period ran for seven years, and at the end of that seven-year

 term, if the homebuyer is still complying with all requirements, the contract “shall”

 convert to a seller-financed land contract. Vision included two other possible

 “options” that could potentially occur at the end of the seven-year period: the

 homebuyer could elect to prepay the balance owed, or could ask to be allowed to

 walk away from the home and forfeit all prior investments and payments.

       61.    The three purported “options” listed in the contract create a false

 impression of choice. Option two, the right to prepay the remaining purchase price

 at any time with cash or outside financing, typically exists in a land contract or any

 home purchase transaction.

       62.    Option three, “option to forfeit lease,” says that the lessee may, “by

 mutual agreement between LESSOR and LESSEE, as evidenced in writing,” forfeit

 their rights to the home and move out. This is the only “option” that requires Vision’s

 written agreement. If Vision did not agree, arguably the homebuyer would be bound

 to continue in the LOP, which would then automatically convert to a seller-financed



                                            20
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.327 Filed 01/29/21 Page 21 of 109




 land contract.

       63.    This seller-financed land contract would then be governed by terms that

 Vision had not disclosed to the homebuyer. Although the automatic conversion is

 meant to be documented by a separate instrument, nothing in the LOP contract states

 that the homebuyer would have any choice to decline the conversion to a land

 contract.

       64.    The description of three purported “options” that a homebuyer can

 “elect” appears designed to obscure the automatic nature of the conversion to a land

 contract at the seven-year mark.

       65.    In its internal accounting, Vision calculated the terms of each of its

 home purchase transactions, even those it called an LOP, with a certain interest rate

 and repayment term (typically 15, 20, or 30 years) that would apply to the full

 transaction, starting during the seven-year “lease” term and continuing after the

 automatic conversion to a land contract. The amount of the monthly payment that

 was applied towards the purchase price each month during the 84-month “lease”

 term reflects the effective interest rate and amortization term for the transaction.

       66.    Internally, Vision continued to record and track the progress of

 homebuyers in lease-option agreements in the same way one would track progress

 on a land contract or other financing arrangement—including the original principal

 balance, remaining principal balance, interest rate, and escrow balance for the



                                           21
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.328 Filed 01/29/21 Page 22 of 109




 payment of taxes and insurance.

       67.    Vision set the monthly payment and amount of the payment being

 credited to the purchase price so that at the seven-year mark, a homebuyer who was

 still making monthly payments would transition seamlessly to a seller-financed land

 contract.

       68.    Although Vision internally tracked its transactions as 20- or 30-year

 land contracts, and described them this way to investors, it advertised the transaction

 to homebuyers as a seven-year contract, causing confusion for homebuyers. Most

 homebuyers believed the seven-year option period was the full payment term and

 they would own the home outright at the end of seven years if they had made all of

 their contractual payments. This belief was expressed by homebuyers in Michigan

 as well as in other states. Vision sales representatives reinforced this belief with

 specific comments and assurances. Some homebuyers recalled being told that after

 84 payments, the house would be theirs, and that they would have the deed to the

 property free and clear after seven years. Others recalled that Vision’s sales pitch

 made them believe their full monthly payment was going towards the purchase price,

 and that they would have finished paying for the home by the seven-year mark.

       69.    Vision’s lease-option contract did not disclose the true number of years

 of payments that would be required to pay for the home. Nor did the contract disclose

 the interest rate for the transaction. Vision’s form contracts stopped specifying this



                                           22
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.329 Filed 01/29/21 Page 23 of 109




 information when it shifted to styling its transactions as seven-year lease-options

 rather than standard land contracts. In an overt loan transaction, the interest rate and

 finance charge are required to be disclosed clearly and conspicuously, and most land

 contracts state the interest rate being charged and how long homebuyers will be

 paying for the home. Yet Vision’s lease-option documents that it provided to

 homebuyers omitted this information.

       70.    In its internal accounting, however, Vision calculated the amortization

 of its home purchase transactions using interest rates ranging from 7 to 10%, and

 most often above 8%, and repayment terms of 180 to 360 months. This high interest

 rate and long repayment term—both undisclosed to homebuyers—meant that only a

 small portion of each monthly payment was credited toward the purchase price.

 Homebuyers were surprised to discover that at the end of the seven-year period, their

 principal balance was nearly unchanged from the original purchase price despite

 years of payments.

       71.    Although the lease-option contract specified the small amount of each

 monthly payment that went toward the purchase price, this information was not

 accompanied by disclosure of the interest rate or amortization term that could have

 made clear the implications for the homebuyer. In addition, Vision’s sales

 representatives did not explain or reinforce this fact, and in the case of some Named

 Plaintiffs, Vision representatives gave oral representations that contradicted it,



                                           23
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.330 Filed 01/29/21 Page 24 of 109




 giving the impression that seven years of payments would pay off the home in full.

       72.    Even the undisclosed interest rate did not reflect the true cost of the

 credit Vision was extending to homebuyers. Vision typically offered two purchase

 prices: a lower cash price, and a higher price to purchase a home on credit. By doing

 so, Vision incorporated an additional financing charge into its transactions.

       73.    In addition, Vision collected an escrow payment from the homebuyers

 to cover the property taxes, but failed to conduct an annual escrow review to

 determine if they were collecting too much money. In many instances, Vision was

 collecting far more from the homeowner than was needed to cover the property

 taxes. This over-collection of property taxes amounts to an additional finance

 charge, further increasing the cost of credit.

       74.    Vision failed to disclose orally to homebuyers the tiny portion of their

 monthly payment being applied to the purchase price, failed to disclose that they

 would still owe a significant principal balance (almost all of the original purchase

 price) at the seven-year mark, failed to disclose the interest rate it used to calculate

 the monthly payment, and failed to disclose the effective interest rate for the

 transaction based on the marked-up price for a home purchased on credit.

       75.    Vision’s website and marketing documents describe its lease-option

 program as providing “the opportunity to build equity in a home without the need

 for a loan.” In fact, Vision’s homebuyers were not building equity. Vision evicted



                                           24
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.331 Filed 01/29/21 Page 25 of 109




 people when they defaulted on the payments, rather than carrying out a foreclosure

 sale. After being evicted, Vision’s homebuyers did not receive compensation for the

 value of any investments they made in the home or any equity Vision promised they

 would build.

       76.      Vision also deliberately marketed its program to individuals with

 limited or scarred credit histories who had been unable to obtain the dream of

 homeownership. It specifically marketed its program as a way to help individuals

 “build future investment value and build credit history.” Yet Vision did not actually

 report homebuyers’ on-time payments to the credit agencies, because avoiding credit

 reporting helped Vision to fly “below the radar of being a ‘regulated lender’”

 (according to a June 2012 internal email stating this was “important to the business

 model”).

       77.      Vision told potential customers on its website that “[o]ver the last 4

 years, our unique [rent-to-own] program has helped thousands of families across

 America realize that home ownership is an option available to them and is possible.”

       78.      Vision failed to disclose to potential customers that almost no one

 entering into its contracts had succeeded in becoming a homeowner. For example,

 in Pennsylvania, where Vision also operated, according to data obtained by the

 Attorney General of Pennsylvania, out of approximately 450 homebuyers who had

 entered into Vision’s lease-option agreement between 2013 and 2016, only 2% had



                                           25
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.332 Filed 01/29/21 Page 26 of 109




 successfully obtained a deed to the home, and only 25% of the agreements were still

 in effect as of March 2019. The remaining 73% of agreements had been terminated

 through either an ejectment, eviction, or the homebuyer giving up and moving out.

 Of 170 homebuyers who had entered into a lease-option with Vision from 2016 to

 the present in Pennsylvania, only 0.5% had been successful in obtaining ownership

 of the home, and only 40% of the leases were still in effect as of March 2019.

       79.    On information and belief, Vision’s transactions in Michigan have a

 similar failure rate and a similarly insignificant number of transactions leading to

 true ownership. In Wayne County, from 2011 through early 2020, Vision entities

 had filed over 150 eviction and forfeiture lawsuits against Vision homebuyers in

 home purchase transactions. This figure likely underestimates the number of Wayne

 County homebuyers who failed to achieve homeownership under a Vision contract.

 On information and belief, many homebuyers moved out of Vision homes without

 the need for an eviction filing, after learning of the terrible condition of the property

 upon obtaining possession or being unable to afford both the repairs and monthly

 payments.

       80.    In Genesee County, from 2013 to 2020, Vision has filed approximately

 70 eviction and forfeiture lawsuits. The number of eviction and forfeiture lawsuits

 likely underestimates the number of Genesee County homebuyers who failed to

 achieve homeownership under a Vision contract. On information and belief, many



                                            26
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.333 Filed 01/29/21 Page 27 of 109




 homebuyers moved out of Vision homes without the need for an eviction filing, after

 learning of the terrible condition of the property upon obtaining possession or being

 unable to afford both the repairs and monthly payments.

       81.    Despite the fact that Michigan law requires sellers to use a statutory

 process for termination of a land contract, which includes a statutory right to redeem

 and a pre-suit right to cure, Vision has repeatedly attempted to dispossess purchasers

 through a summary eviction process.

       82.    In addition to masking the true cost of its alternative financing

 arrangement and attempting to evade regulation by captioning the documents as a

 lease-option, Vision hid significant defects in the properties from its prospective

 homeowners.

       83.    Vision’s business model involves purchasing formerly foreclosed

 homes that are often in extremely poor, even uninhabitable, condition. Nearly all of

 the properties Vision buys have been vacant for a period of time after foreclosure

 and are marked by conditions typical of vacancy, including disconnected utility

 service, poor weatherization, and damaged and leaking pipes.

       84.    Vision makes no repairs to its properties before selling them through its

 home purchase contracts. As specified in its contracts, all properties are sold in “as

 is” condition. Many of the properties Vision sells have torn-out electrical wiring,

 missing or non-functioning appliances, missing or damaged plumbing, missing



                                          27
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.334 Filed 01/29/21 Page 28 of 109




 toilets or other fixtures, water-damaged and deteriorating wood siding, other water

 damage, and mold damage. Key systems such as electrical, plumbing, and HVAC

 systems are often not functioning. Some homes have floors that are collapsing or

 roofs that leak badly. Many have raw sewage backing up in the home because of

 plumbing lines in need of a significant overhaul.

        85.    Vision routinely obtained a full inspection of its properties with detailed

 information and pictures. However, it did not provide those inspection reports to

 buyers. Instead, it directed homebuyers to conduct a “self-inspection” of the home.

 Many of Vision’s properties contain hidden defects, such as nonfunctioning hot

 water heaters, furnaces, or HVAC systems, which homebuyers could not detect in

 advance because utility service was not turned on at the time they viewed the

 property. Therefore, homebuyers were unaware of significant defects in the homes.

        86.    It was routine practice for Vision to sell a home that it knew was not

 habitable to a homebuyer that Vision knew or should have known lacked the

 financial capacity to make the necessary repairs to render it habitable.

        87.    It was common in Vision’s transactions for homebuyers to sign a home

 purchase contract and begin making payments, but to be unable to occupy the home

 because it was not habitable and required significant repairs before the city would

 turn on utility service.

        88.    Vision’s contract stated that the homebuyer was taking on the burden



                                            28
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.335 Filed 01/29/21 Page 29 of 109




 of making the home habitable, and a failure to bring the home into habitable

 condition within three months could result in Vision declaring the homebuyer to be

 in breach of the contract. The contractual requirement to bring the home into

 habitable condition gave Vision the ability to find a basis to terminate the contract

 at will.

        89.   A homebuyer’s eventual inability to complete the purchase of a home

 or continue to make payments meant that Vision would recover a property that was

 typically in much better shape than it was when Vision induced the homebuyer to

 enter the transaction.

        90.   Vision misrepresented the nature of the agreement, the cost of the credit

 it was extending, the condition of the properties (by failing to disclose defects that

 were known to Vision), and the fact that it was offering people a pathway to

 homeownership.

        91.   Vision failed to disclose to homebuyers that it was in fact charging a

 finance charge in the transactions, that the high cost of credit would result in the

 buyer accumulating almost no reduction in the purchase price by the end of seven

 years, that its business model had astronomical failure rates, that the contracts were

 unaffordable (especially when factoring in the cost of necessary repairs), that it was

 not helping homebuyers to build up their credit history, and that in the end, nearly

 everyone entering into Vision’s home purchase transactions would lose a significant



                                          29
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.336 Filed 01/29/21 Page 30 of 109




 amount of personal investment, while gaining no significant benefit.

       92.    Vision continues to operate its home purchase business model in

 Michigan by enforcing and collecting payments on the contracts. Vision continued

 to originate new predatory home purchase transactions in Michigan into 2019.

       93.    In sum, Vision’s program was designed to induce low-income

 homebuyers with few other options to invest significant money and make significant

 improvements to a home that, in all likelihood, they would never own.

       94.    Far from being a responsible provider of an alternative pathway to

 homeownership, Vision’s practices have exacerbated economic stagnation and

 blight in the communities it has targeted. Many of Vision’s properties now sit vacant

 and boarded up, after Vision dispossessed unsuccessful would-be homeowners (and

 sometimes multiple would-be homeowners in succession) who had invested

 significant amounts of time and money in the homes.

               Vision’s Discriminatory Property Acquisition Strategy
       95.    Vision not only operated the predatory home purchase scheme

 described above, but also discriminated against Black homebuyers through its

 racially skewed property acquisition practices. Vision’s practices both intentionally

 targeted Black prospective homebuyers because of their race and had a disparate

 impact on Black homebuyers and on residents of predominantly Black

 neighborhoods in the greater Detroit area. Because Vision acquired properties in



                                          30
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.337 Filed 01/29/21 Page 31 of 109




 predominantly Black areas of the Detroit CSA through REO bulk sales, this caused

 and causes Black homebuyers to be disproportionately impacted by Vision’s

 practices, ensnaring them in contracts with onerous and predatory terms that have

 led and continue to lead to their eviction and loss of their home and other harmful

 effects, including the inability to build equity while investing significant money into

 their home that could not be recouped.

       96.    Vision has acquired more than 10,000 single-family homes to be sold

 through its home purchase program. Approximately 1,000 of these properties are

 located in Southeastern Michigan, in the Detroit CSA.

       97.    According to data from the U.S. Census Bureau, the Detroit CSA has a

 population of 5.4 million. This population is 68% non-Hispanic white, 20% Black,

 4% Asian, 5% Hispanic, and 2% two or more racial categories.

       98.    Vision began purchasing properties in 2002 but purchased the vast

 majority of its properties in the aftermath of the foreclosure crisis, between 2011 and

 2015. Vision chose to acquire a significant percentage of the properties from

 mortgage finance giant Fannie Mae’s portfolio of REO properties and through other

 bulk REO sales.

       99.    REO properties are homes that went through foreclosure but were not

 purchased by a third party at the foreclosure auction. As a result, they were held by

 the bank in its REO portfolio. These banks would later offload significant numbers



                                           31
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.338 Filed 01/29/21 Page 32 of 109




 of REO properties through individual and bulk sales, often at discounted prices.

          100. Bulk REO sales are transactions in which a company sells multiple

 REO properties simultaneously to the same buyer, sometimes for a single combined

 price.

          101. Fannie Mae REO properties were homes that had been foreclosed upon,

 bought by the mortgage company, and then transferred to Fannie Mae because

 Fannie Mae owned or insured the mortgage loan that had been foreclosed.

          102. Fannie Mae bulk REO sales involved REO properties that had been

 listed on the market by Fannie Mae for 90 days as individual listings and had failed

 to sell. Fannie Mae then bundled these properties, with usually about 25 to 50 homes

 in a bundle, and sold them through bulk REO sales.

          103. Vision acquired the vast majority of properties for its home purchase

 scheme from bulk REO sales. Based on a review of public deed records from the

 Detroit CSA, where “bulk” REO sales were identified based on the same buyer and

 same seller transferring at least three properties on the same date, Vision acquired

 more than 70% of its properties through bulk REO sales, including from Fannie Mae.

          104. Fannie Mae bulk REO sales made up over 50% of Vision’s property

 acquisitions in the Detroit CSA, and Fannie Mae was the single largest source of

 Vision’s properties.

          105. Vision’s general acquisition strategy was the same in all the states



                                          32
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.339 Filed 01/29/21 Page 33 of 109




 where it operated. But Vision also made the deliberate decision to acquire some

 properties from other sellers in specific areas of the country. For example, Vision

 bought approximately 126 properties from the Wayne County Treasurer, although it

 did not buy properties from county tax foreclosures in any other counties in

 Michigan.

       106. The Detroit CSA overall has a 20% Black population. Yet the median

 racial demographic of the Census tracts where Vision acquired homes for its home

 purchase scheme in the Detroit CSA was 76.78% Black.

       107. From 2011 to 2015, 63.5% of the properties Vision acquired in the

 Detroit CSA were in majority Black Census tracts. Only 29.3% of Vision’s

 properties in the Detroit CSA were in majority white Census tracts.

       108. Purchasing REO properties in Southeastern Michigan would not, of

 itself, lead to owning a heavy concentration of homes in majority Black Census

 tracts. REO sales in the Detroit CSA over the 2011-2015 time period were located

 in Census tracts with a median racial demographic of 9.51% Black, modestly higher

 than the median Black population in Census tracts of non-REO arms’ length sales

 during this period, which was 3.37% Black. This is represented in Figure 1 below.




                                         33
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.340 Filed 01/29/21 Page 34 of 109




  Number of sales




 Figure 1: Arm’s length sales in 2011-2015 by Census tract Non-Hispanic Black
 population for the Detroit CSA. Note: REO sales include only arm’s length sales and
 exclude sales by county treasurers, i.e., property tax sales. “Non-REO” sales are a
 subset of CoreLogic-defined arm's length sales excluding REO sales. Sources:
 CoreLogic, American Community Survey 2015 5-year estimates.

                    109. However, Vision’s practice of acquiring properties through REO bulk

 sales—primarily through purchasing large numbers of REO properties from higher

 volume sellers—did result in its properties being heavily concentrated in majority

 Black neighborhoods to which Vision then marketed its contracts. As represented in

 Figure 2 below, REO bulk sales are far more racially concentrated, being located in

 Census tracts with a median racial demographic of 77.1% Black, compared with

 non-bulk REO sales, which are located in Census tracts that are much more likely to

 be majority white (median of 8.8% Black). The difference between the mean racial

 concentration of Census tracts where bulk and non-bulk REO sales occurred is

                                                   34
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.341 Filed 01/29/21 Page 35 of 109




 highly statistically significant. Figure 2 includes all REO sales in the Detroit CSA,

 including those from Fannie Mae.
   Number of sales




 Figure 2: REO bulk and non-bulk sales in 2011-2015 by Census tract Non-Hispanic
 Black population for the Detroit CSA. Note: Bulk sales defined as properties
 involved in transactions with the same seller, buyer, and sale date and more than two
 properties. Sources: CoreLogic, American Community Survey 2015 5-year
 estimates.

                     110. From 2011 to 2015, 59.6% percent of bulk REO sales in the Detroit

 CSA were in majority Black Census tracts. Over the same period, 34.2% of bulk

 REO sales in the Detroit CSA were in majority white Census tracts.

                     111. Examining just the universe of Fannie Mae REO sales further confirms

 the racial impact of Vision’s practice of acquiring REO properties in bulk. Fannie

 Mae bulk REO sales in the Detroit CSA from 2011-2015 were located in Census

 tracts with a median racial demographic of 74.04% Black, compared to 8.65% Black



                                                     35
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.342 Filed 01/29/21 Page 36 of 109




 for Fannie Mae non-bulk REO sales in southeastern Michigan over the same time

 period. The mean, median, and distribution of these sales is shown in Figure 3 below.

 The difference between the mean racial concentration of Census tracts where bulk

 and non-bulk Fannie Mae REO sales occurred is highly statistically significant.

 Vision acquired 40% of its properties for its home purchase business through Fannie

 Mae bulk REO sales.
    Number of sales




 Figure 3: Fannie Mae bulk and non-bulk sales in 2011-2015 by Census tract Non-
 Hispanic Black population for the Detroit CSA. Note: Bulk sales defined as
 properties involved in transactions with the same seller, buyer, and sale date and
 more than two properties. Sources: CoreLogic, American Community Survey 2015
 5-year estimates.

                      112. Another way to measure the racial concentration of bulk REO sales is

 through an odds ratio, which depicts the odds of one (independent) variable being

 associated with another (dependent) variable. The odds of an REO sale being part of

 a bulk sale (vs non-bulk) are over 5.7 times higher in a 90% Black Census tract


                                                      36
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.343 Filed 01/29/21 Page 37 of 109




 versus a 10% Black tract. Even when median home value is held constant, an REO

 sale is 2.4 times more likely to be part of a bulk sale in a 90% Black tract versus an

 REO sale in a tract that is only 10% Black. This is a highly statistically significant

 difference, even when holding constant median home values.

       113. There is perhaps no better way to depict the racial concentration of

 Vision’s property acquisition scheme than through a map of its properties in the

 Detroit CSA. Figure 4 below shows the percent non-Hispanic Black households in

 the Detroit CSA per the 2011-2015 American Community Survey. Figure 5 shows

 Vision’s properties in the Detroit CSA.




                                           37
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.344 Filed 01/29/21 Page 38 of 109




 Figure 4: Census tract Non-Hispanic Black population in 2011-2015 for the Detroit
 CSA. Sources: CoreLogic, American Community Survey 2015 5-year estimates.


                                        38
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.345 Filed 01/29/21 Page 39 of 109




 Figure 5: Properties purchased by VPM and Census tract Non-Hispanic Black
 population in 2011-2015 for the Detroit CSA. Sources: CoreLogic, American
 Community Survey 2015 5-year estimates.


                                      39
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.346 Filed 01/29/21 Page 40 of 109




             Vision’s Marketing Scheme Targeted Black Communities
       114. As explained above, Vision’s practice of acquiring homes through REO

 bulk sales resulted in a racially skewed portfolio of properties that it used for its

 home purchase scheme. But this practice does not fully account for Vision’s high

 concentration of homes in predominantly Black neighborhoods. This result also

 reflects Vision’s intentional targeting of Black neighborhoods in order to attract

 Black customers because of their race.

       115. Vision purchased the vast majority of its properties from Fannie Mae

 bulk REO sales and other bulk REO sales, knowing that in Southeastern Michigan,

 such properties were located almost exclusively in communities that are majority

 Black. In continuing to purchase properties that it knew were located in majority

 Black neighborhoods, Vision showed a knowing, willful targeting of these

 communities in order to attract Black customers because of their race.

       116. Although Vision mostly purchased its properties through a similar

 acquisition strategy in all the states where it operated, it made a deliberate decision

 to purchase properties from other sellers in specific sub-geographies. For example,

 Vision bought approximately 126 properties from the Wayne County Treasurer,

 although it did not purchase properties from any other county tax foreclosures in

 Michigan. Because Wayne County has a much higher Black population than any

 other county in Michigan, and tax foreclosures in Wayne County are concentrated



                                           40
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.347 Filed 01/29/21 Page 41 of 109




 in Black neighborhoods, this decision to purchase from the Wayne County Treasurer

 but not from other counties led to a predictable and actual concentration of homes in

 mostly Black neighborhoods.

       117. Vision then developed a marketing scheme for its home purchase

 business that predictably and actually attracted primarily Black purchasers because

 of their race. Specifically, Vision primarily advertised its program by putting yard

 signs and window signs in front of each house indicating it was for sale, quoting a

 low down payment and low monthly payment, and listing a phone number to call.

       118. This primary mode of advertising its home purchase transactions

 reached the primarily Black residents of these communities. The people likely to see

 these signs and call Vision were the ones walking or driving through the

 neighborhood. Individuals who did not live or frequent the overwhelmingly Black

 neighborhoods where Vision acquired its properties and located its yard signs would

 be very unlikely to see Vision’s signs.

       119. Vision did advertise its properties through websites like Craig’s List,

 Zillow, and its own website, but the majority of its leads came from people who saw

 the yard signs. Vision did not advertise through general-audience television

 channels, radio stations, magazines, or newspapers.

       120. Upon information and belief, Vision marketed its home purchase

 transactions almost exclusively in Black neighborhoods in order to attract Black



                                           41
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.348 Filed 01/29/21 Page 42 of 109




 customers because of their race. Upon information and belief, Vision did so because

 it knew that Black potential homebuyers had been denied access to traditional forms

 of mortgage credit in the aftermath of the housing crisis and believed that Black

 potential homebuyers could be induced to purchase properties that were in very bad

 condition, and to pay inflated purchase prices and very high interest rates, because

 these potential homebuyers believed they would not have any other way to purchase

 a home.

       121. Vision’s business model involves targeting credit-starved Black

 communities for its predatory and abusive home purchase transactions because of

 the race of their residents. Vision’s targeting of these areas has been effective

 precisely because these Black potential homebuyers lacked access to traditional

 mortgage lending, which was extremely tight over the relevant time period.

        Less Discriminatory Alternatives That Vision Could Have Pursued
       122. Vision’s practices were arbitrary, artificial, and unnecessary because it

 had an array of less discriminatory alternatives that would have served any legitimate

 business purpose equally well.

       123. Fannie Mae bulk REO sales, and bulk REO sales generally, were far

 from the only option available to Vision for acquiring single-family homes during

 the relevant time period.

       124. Even if Vision made a decision to purchase its stock of homes for its



                                          42
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.349 Filed 01/29/21 Page 43 of 109




 home purchase scheme from REO supplies, which were prevalent in the 2011 to

 2015 timeframe when Vision was ramping up its volume, Vision could have

 acquired REO properties in much more racially diverse neighborhoods by avoiding

 bulk sales and purchasing from the ample supply of properties available through

 non-bulk REO sales. Between 2011 and 2015, most REO sales in the Detroit CSA

 were not sold in bulk; during this period there were 92,841 properties sold in REO

 non-bulk sales, compared to only 5,140 properties sold via REO bulk sales. But the

 odds of a property being included in a bulk sale are substantially higher in majority

 Black neighborhoods. See Figures 2 and 3 above. Even holding median home value

 constant, an REO sale is 2.4 times more likely to be part of a bulk sale in a 90%

 Black tract versus an REO sale in a tract that is only 10% Black. By choosing to

 acquire the vast majority (72%) of its properties through REO bulk sales, Vision

 substantially increased the likelihood that its properties would be concentrated in

 majority—and even supermajority—Black neighborhoods despite the availability of

 properties of comparable home value in other neighborhoods. Upon information and

 belief, Vision structured its business practices in order to attract Black potential

 homebuyers because of their race.

       125. Vision could have marketed its home purchase product in a way that

 would have been less likely to impact primarily Black homebuyers by relying

 predominantly on forms of advertising with a broader homebuyer base, such as



                                          43
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.350 Filed 01/29/21 Page 44 of 109




 general-audience television channels, radio stations, magazines, or newspapers.

         126. Vision could have structured its contracts in a way that was not built to

 fail, and could have ceased its practices that were unfair, deceptive, and predatory,

 including attempting to evade consumer protections applicable to home financing

 transactions, masking the cost of the credit it was extending, marking up the price of

 homes dramatically, selling homes in terrible condition in such a way that

 homebuyers could not detect the significant defects, and failing to tell homebuyers

 of the high failure rates of its home purchase transactions.

         127. Knowing that the properties it acquired in Southeast Michigan were

 concentrated in densely Black neighborhoods, Vision still chose to advertise

 predominantly through yard signs at the properties and to target the residents of these

 neighborhoods.

                 Role and Involvement of Atalaya and ACM Vision V
         128. Vision’s actions described above, in the design, implementation, and

 expansion of its LOP program, were possible only because of the funding it received

 from Atalaya Capital Management, LP (“Atalaya”). Atalaya provided financing to

 VPM and its Affiliate Defendants in order to operate the LOP scheme at issue in this

 case.

         129. VPM approached Atalaya in 2012 to be a potential lender to fund its

 acquisition of properties through bulk transactions for its LOP program, including



                                           44
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.351 Filed 01/29/21 Page 45 of 109




 properties in Michigan.

       130. Atalaya is a privately held, SEC-registered alternative investment

 advisory firm. According to the New York Times, it is a hedge fund worth $5 billion.

       131. Atalaya’s website describes one of its lines of business as “specialty

 finance,” described as “originating asset-based loans to specialty finance lenders”

 and “purchasing whole loans or participations from credit originators.” Its other

 classes of investments include real estate and corporate investments.

       132. Before engaging in any investment, Atalaya engages in due diligence.

       133. VPM approached Atalaya as a funder specifically to enable it to acquire

 properties through the bulk REO sales described above. As discussed below, Atalaya

 received detailed information about VPM’s business model. Atalaya knew about

 VPM’s acquisition strategy and knew that it was providing financing for the bulk

 acquisition of REO properties from agencies of the US government and quasi-

 government agencies. Atalaya knew that these properties would then be sold through

 VPM’s LOP program to credit-starved homebuyers, and Atalaya helped develop that

 program.

       134. In May 2012, VPM sent an email soliciting an investor which explained

 VPM’s business model as follows: “Based on great relations with Fannie, Freddie,

 FHA and ResCap, etc., Vision buys pools of foreclosed low-end houses… and sells

 or leases them long-term. As an example, a home will be bought for $10,000 and



                                         45
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.352 Filed 01/29/21 Page 46 of 109




 sold in a few months for $40,000 or put out on a [contract for deed] with [an unpaid

 principle balance] of $45,000 and an implied interest rate of 8.25%.” On information

 and belief, this email was sent to Atalaya. Vision approached Atalaya as a major

 potential funder in 2012, and Atalaya began funding VPM’s property acquisitions in

 2013.

         135. In this email, VPM went on to represent to its investor that not only was

 the business profitable, but it was the only way to profit from severely distressed

 foreclosed homes, allowing VPM to “sell low to mid-tier assets previously thought

 to be unsellable,” homes that “most banks and lending institutions can’t give away.”

         136. Prior to investing, Atalaya consulted with VPM regarding the form of

 the agreement that VPM would enter with consumers, the LOP agreement.

         137. According to findings made in the public record by the New York

 Attorney General and Department of Financial Services after an investigation (the

 “New York findings”), Atalaya consulted with VPM regarding the terms and

 structure of its LOP form agreement, obtained tax opinions that shaped how Vision

 structured the LOP agreement, and received financial records that showed how VPM

 internally tracked its contracts in a manner similar to a land contract, internally

 recording the interest rate and true duration of the loan, information not disclosed to

 homebuyers in the LOP contract.

         138. Thus, according to the New York findings, Atalaya “had knowledge of



                                           46
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.353 Filed 01/29/21 Page 47 of 109




 the terms of Vision’s LOP agreements and how they were priced, accounted for and,

 at a high level, represented to consumers.” Atalaya “funded Vision’s property

 acquisitions and helped to structure the LOP agreement,” thereby providing

 “substantial assistance” in carrying the unfair and deceptive conduct at issue.

       139. According to the New York findings, Atalaya “received regular

 reporting regarding Vision’s business from Vision’s owners and senior

 management,” “reviewed the performance of the properties sold by Vision,” and

 “conducted due diligence on Vision’s operations.” On information and belief,

 Atalaya’s review of information would have included information related to VPM’s

 marketing and advertising practices.

       140. According to the New York findings, Atalaya management was, in

 some instances, included in emails regarding individual properties and participated

 in decisions regarding modifications to contracts that were in default.

       141. According to the New York findings, Atalaya either was aware, or

 should have been aware, that VPM “was engaged in an illegal, predatory mortgage

 lending business,” but nonetheless “agreed to fund property acquisitions by Vision,

 and thereby help Vision expand its operations.”

       142. According to the New York findings, based on its knowledge of VPM’s

 business operations, Atalaya knew or should have known that Vision entered into

 transactions with consumers who were unlikely to be able to afford the ongoing



                                          47
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.354 Filed 01/29/21 Page 48 of 109




 monthly payments along with the costs of repairing properties, and without assessing

 consumers’ ability to repay the loans while making the required repairs.

       143. According to the New York findings, Atalaya knew that VPM’s LOP

 agreement was structured to require consumers to give up any equity they had built

 up in the property upon default.

       144. According to the New York findings, Atalaya knew that Vision did not

 report payments consumers made under the LOP agreements to credit reporting

 agencies—despite representing to homebuyers that its program would help build

 their credit history—because VPM was trying to evade regulators. Vision wrote in

 a June 2012 email that its practice of not reporting to credit agencies kept it “below

 the radar of being a ‘regulated lender,’ which is important to the business model.”

       145. Atalaya was VPM’s most significant funder during the period of time

 when it was acquiring the vast majority of the inventory for its LOP business. For

 example, in New York, Atalaya’s financing was used to acquire 110 residential

 properties. VPM engaged in roughly 150 transactions with consumers in New York.

       146. Atalaya’s funding of VPM’s business model was secured by collateral,

 including the properties VPM owned. Atalaya received information about these

 properties, to ensure adequate collateral value for its debt financing. Upon

 information and belief, this information included the addresses or geographic

 location of the properties.



                                          48
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.355 Filed 01/29/21 Page 49 of 109




       147. Based on information uncovered by regulators in New York,

 Wisconsin, and Pennsylvania, as well as Plaintiffs’ investigation in this case, VPM

 operated similarly in all states where it acquired properties.

       148. VPM’s business model involved seller financing. This meant that rather

 than advancing funds for the purchase of a home from a third-party seller, VPM as

 the seller of the property agreed to defer payment of the full purchase price in

 exchange for a buyer’s stream of payments over time. Because Atalaya funded

 VPM’s acquisition of the homes, Atalaya also acted as a lender by providing the

 source of capital and benefiting from the stream of payments over time.

       149. Atalaya became further enmeshed in VPM’s LOP program by pursuing

 ownership of a subset of properties subject to LOP contracts. Atalaya created

 Defendant ACM Vision V LLC, a real estate investment trust (REIT), to hold title

 to numerous inhabited homes and become a counterparty on the associated LOP

 contracts. ACM Vision V is one of the Affiliate Defendants described above in

 Section III.

       150. ACM Vision V purchased LOP contracts that had been originated by

 Vision entities (other Affiliate Defendants) in various states. As such, it was the

 assignee of these LOP contracts and became the record owner of the real estate,

 subject to the purchaser’s contract to buy. Thus, ACM Vision V knew or should have

 known of the predatory terms of those contracts. Over time, ACM Vision V



                                           49
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.356 Filed 01/29/21 Page 50 of 109




 purchased properties from VPM affiliates, including at least 70 properties from VPM

 affiliates in the Detroit CSA.

       151. According to county records, ACM Vision V held properties it had

 acquired from Vision until at least 2020.

       152. Some of the properties ACM Vision V sold were occupied by

 consumers in active LOP contracts. Others were sold as unoccupied REO property

 after a consumer unsuccessfully attempting to purchase the home through a LOP

 contract had been dispossessed.

       153. Court records reflect at least six evictions filed by ACM Vision V in

 Wayne County and at least eight in Genesee County. These numbers would not

 include any evictions filed by VPM as servicer for ACM Vision V, nor any

 homebuyers that left properties without an eviction being filed.

       154. Figure 6 below is a map of the VPM properties that were acquired by

 ACM Vision V in the Detroit CSA, over the percent Non-Hispanic Black residents

 by Census tract. Figure 6 shows that many of the properties owned by ACM Vision

 V were located in majority Black communities, a pattern consistent with Vision’s

 racially skewed acquisition practices.




                                             50
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.357 Filed 01/29/21 Page 51 of 109




 Figure 6: VPM Properties purchased by ACM Vision V, LLC and Census tract Non-
 Hispanic Black population in 2011-2015 for the Detroit CSA. Sources: CoreLogic,
 American Community Survey 2015 5-year estimates.


                                       51
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.358 Filed 01/29/21 Page 52 of 109




                                 Successor Defendants

       155. According to FTE’s December 2019 Form 8-K disclosure to the U.S.

 Securities and Exchange Commission, on December 20, 2019, FTE and US Home

 Rentals entered into a purchase agreement with Antoni Szkaradek, Alexander

 Szkaradek, VPM, VPM Holdings, and other Vision entities, whereby FTE and US

 Home Rentals agreed to purchase all of the equity interests in the Vision entities,

 including Defendants VPM, VPM Holdings, Kaja Holdings, LLC, Kaja Holdings 2,

 LLC, MI Seven, LLC, IN Seven, LLC, RVFM 4, LLC, DSV SPV 1, LLC, DSV SPV

 2, LLC, DSV SPV 3, LLC, Boom SC, and Alan Investments III, LLC, all of VPM’s

 assets that are related to its business, and any and all contracts, intellectual property,

 liabilities, and a real estate asset portfolio consisting of 3,184 rental homes located

 across the United States, among others.

       156. FTE and US Home Rentals agreed to acquire these equity interests,

 assets, and liabilities for aggregate consideration of $350 million consisting of $10

 million in cash, $80 million in indebtedness of the Vision entities, 4,222,474 shares

 of FTE common stock valued at $32 million, and newly designated shares of FTE

 preferred stock valued at $228 million.

       157. Potential liabilities arising from the current Complaint were not

 disclaimed in the parties’ purchase agreement. The only liabilities excluded from the

 purchase agreement are: (a) indebtedness of the sellers other than debt of the


                                            52
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.359 Filed 01/29/21 Page 53 of 109




 companies themselves or debt expressly assumed by the agreement, (b) liability

 related to the excluded assets, (c) liability related to current or pending action against

 the companies as of December 2019, (d) tax liability arising from the companies, (e)

 intercompany accounts payable, (f) transaction expenses, (g) retained bonuses, and

 (h) additional liabilities listed in the Schedules which Plaintiffs do not have access

 to.

       158. FTE’s December 2019 Form 8-K disclosure attached a copy of the

 purchase agreement but did not include all schedules referred to in the agreement.

       159. FTE published a press release announcing its merger with Vision and

 stated: “Vision’s management team . . . will continue as senior executives of the

 Company and major shareholders.” Alex Szkaradek, Vision’s CEO, hailed the

 transaction as a “strategic partnership.”

       160. Upon information and belief, FTE directed the purchase of Vision and

 its business.

       161. Antoni Szkaradek, Alexander Szkaradek, VPM, VPM Holdings, and

 other Vision entities own 19.9% of FTE’s currently outstanding common stock and

 additional preferred stock of FTE.

       162. FTE and US Home Rentals are continuing Vision’s business model and

 operations.




                                             53
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.360 Filed 01/29/21 Page 54 of 109




       163. Pursuant to the purchase agreement, the Vision entities were required

 to conduct their business in its ordinary course before and until the close of the

 agreement, preserve the present business operations, assets, organizational structure,

 stocks, and goodwill, because FTE and US Home Rentals would assume those

 business interests and operations upon closing.

       164. The Vision entities transferred all of its residential properties, current

 and form contracts, intellectual property, employees, employee benefit plans, and

 business infrastructure to FTE and US Home Rentals.

       165. There was an almost seamless transition between Vision and FTE and

 US Home Rentals from the perspective of the homebuyers. Plaintiff Henderson

 remembers being unable to reach Vision at the phone number she regularly calls to

 make her payments. However, after a couple months of not being able to reach

 Vision, she called the same number again and a representative told her that the

 company changed its name to US Home Rentals and proceeded to take her payment.

 The representative did not require Ms. Henderson to submit any new information to

 continue her relationship with them.

       166. Homebuyers send their monthly payments to the same addresses and

 use the same phone number to reach US Home Rentals as they did when the

 company was operating under the name Vision.




                                          54
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.361 Filed 01/29/21 Page 55 of 109




       167. After purchasing and operating Vision’s business for approximately

 one year, FTE announced in December 2020 that it will be assuming the name of its

 principal subsidiary, US Home Rentals, and exclusively operating and expanding

 that business model.

       168. FTE recently filed a document with the SEC stating that the wholly

 owned subsidiaries of US Home Rentals which were acquired from VPM, the

 entities which hold title to the properties, have taken out a loan for $1.4 Million

 which will be used to rehabilitate the properties and pay property taxes. FTE

 guaranteed the loan.

       169. Michael P. Beys was the interim Chief Executive Officer of both FTE

 and US Home Rentals at the time of execution of the purchase agreement.

       170. Upon information and belief, US Home Rentals is a shell corporate

 structure and is an alter ego of Defendant FTE.



                 V.     EXPERIENCES OF THE NAMED PLAINTIFFS

 A.    Rhonda Henderson

       171. Rhonda Henderson is a fifty-six-year-old Black woman who lives with

 her husband Rodney Palmer in Inkster.

       172. Ms. Henderson and Mr. Palmer have lived in their home in Inkster since

 Ms. Henderson entered into a home purchase contract with Vision in 2014.



                                         55
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.362 Filed 01/29/21 Page 56 of 109




       173. Ms. Henderson learned about Vision from its website and from yard

 signs and window signs in houses all over Inkster advertising homes for sale for as

 little as $300 down.

       174. Ms. Henderson was tired of renting and eager for the opportunity to

 own her own home with Mr. Palmer. The house they had been renting immediately

 before learning about Vision had a number of problems and needed long-overdue

 repairs.

       175. When Ms. Henderson looked at the homes listed on Vision’s website,

 Vision provided a lockbox code and instructed her to go and view the house on her

 own. No Vision representative ever met with her in person. Ms. Henderson and Mr.

 Palmer viewed several properties owned by Vision, many of which were in terrible

 condition.

       176. Vision was offering the house for $40,000 if purchased through

 Vision’s LOP program. This is the price for the property as stated in Ms.

 Henderson’s contract with Vision, as described below. Ms. Henderson does not

 recall whether Vision was offering a lower cash price if she could have paid it all in

 a lump sum.

       177. Unbeknownst to Ms. Henderson, Vision, through its related entity Kaja

 Holding 2, LLC, had purchased the property from the Wayne County Treasurer for

 $7,300 approximately seven months before it sold the home to her for $40,000, a



                                          56
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.363 Filed 01/29/21 Page 57 of 109




 more than five-fold markup. Upon information and belief, Vision did not make any

 repairs or improvements to the property before entering the contract to sell it to Ms.

 Henderson for over five times what Vision had paid for it.

       178. When she and Mr. Palmer viewed the home, Ms. Henderson thought

 the condition of the home looked better than many of the other properties. The rugs

 were badly pet soiled, the smell was terrible, there was trash and debris throughout

 the home, and an eviction notice had been placed on the back door. But other than a

 deep cleaning, she thought the home was in decent condition.

       179. After moving into her home, Ms. Henderson discovered that the

 electricity was not working in half of the house, that a plumbing issue prevented one

 bathroom in the basement from being usable, and that the hot water heater needed

 repair. Over time, she replaced the kitchen cabinets and countertops, pulled out

 carpets and refinished floors, and painted the house inside and out.

       180. Ms. Henderson was working as a home health care worker at the time

 that she entered into the contract with Vision. Vision told Ms. Henderson that she

 didn’t make enough to qualify on her own, and she would have to obtain a co-signer.

 Since Mr. Palmer was out of work at the time, she did not include him as a co-signer.

 Her daughter Kiara Henderson, who was working for McDonalds, was willing to be

 added as a cosigner.

       181. On information and belief, Vision did not verify Ms. Henderson’s



                                          57
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.364 Filed 01/29/21 Page 58 of 109




 ability to afford the obligations of the contract, especially considering her other

 expenses, full debt-to-income ratio, and the cost of repairs necessary to bring the

 home into habitable condition.

       182. Ms. Henderson has no professional experience in finance, home

 lending, or real estate.

       183. Ms. Henderson never met with any Vision representative or agent in

 person. The closing of the transaction was conducted by mail. Ms. Henderson was

 asked to sign the papers in front of a notary and return them in a pre-paid envelope.

       184. At the time that the contract was entered into, Ms. Henderson was not

 advised nor required by Vision to obtain an inspection of the home, and Vision did

 not obtain an appraisal.

       185. The contract between Vision (through its related entity, Kaja Holdings

 2, LCC) and Ms. Henderson is captioned “Residential Lease with Option to Purchase

 Agreement (Triple-Net, Bondable Lease)” and is attached as Exhibit A.

 The contract was entered into on June 15, 2014.

       186. The contract stated that the purchase price was $40,000. Ms. Henderson

 was required to send $1,303 for a down payment and her first monthly payment. She

 was then required to pay $553 per month. This monthly payment included $225 per

 month for property taxes and $25 per month for insurance. In the middle of a

 paragraph the contract states that only $55.05 of this monthly payment was credited



                                          58
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.365 Filed 01/29/21 Page 59 of 109




 to the purchase price each month.

       187. Despite the contract’s written terms, Ms. Henderson believed based on

 Vision’s oral representations that her entire monthly payment would go toward the

 purchase price of the home, and that by the end of the seven-year period, she would

 own the house outright.

       188. Despite the contract’s written terms, Ms. Henderson did not understand,

 and was not informed orally by Vision’s sales representative, that in fact only a small

 fraction of her monthly payment ($55.05 out of $553 per month) was being applied

 to the purchase price.

       189. She had no understanding, and was not informed (through the contract’s

 written terms or in oral representations), that if she made every single payment on

 time, at the end of the seven-year term she would still owe $34,625.80 of the $40,000

 purchase price.

       190. Based on the monthly payment amount and the amount being applied

 to the principal balance each month for the seven year “lease-option” period, Vision

 extended Ms. Henderson credit of $39,250 (the purchase price minus the down

 payment) at an 8% annual interest rate.

       191. On information and belief, Vision calculated Ms. Henderson’s monthly

 payment based on a principal balance of $39,250, an interest rate of 8%, and a

 payment term of 300 months (25 years). On information and belief, Vision intended



                                           59
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.366 Filed 01/29/21 Page 60 of 109




 to convert Ms. Henderson to a land contract with a 25-year term (with 18 years

 remaining) after the initial 7-year period.

       192. Vision never disclosed to Ms. Henderson, through its written contract

 or in oral representations, that she was being charged an 8% annual interest rate.

       193. Vision never disclosed to Ms. Henderson, through its written contract

 or in oral representations, that the contract had an amortization term of 300 months

 and a payment schedule of 300 months.

       194. Vision never orally disclosed to Ms. Henderson that the payments

 required by her contract would not pay off the purchase price in seven years, but

 rather that it would take her 25 years making this payment to complete the purchase

 of her home.

       195. Vision did not disclose to Ms. Henderson, through its written contract

 or in oral representations, the finance charge, annual percentage rate, the total

 number of payments required for Ms. Henderson to own the home, the amount of

 the purchase price that would be owed at the end of the seven-year period, or the fact

 that a security interest in the home was taken.

       196. Vision has also required Ms. Henderson to pay into an escrow account

 that is meant to cover the property taxes for the home.

       197. City and county records indicate that Vision has not paid taxes on the

 house timely each year. Vision has not yet paid the Winter 2018 taxes, which would



                                           60
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.367 Filed 01/29/21 Page 61 of 109




 make the home eligible for tax foreclosure in 2021. Vision has not yet paid the

 Summer or Winter 2019 taxes, which were due by August 31, 2019 and January 31,

 2020, respectively. And Vision has not yet paid the Summer 2020 property taxes,

 which were due by August 31, 2020. Ms. Henderson was not aware that Vision has

 not been making the required property tax payments on her home.

       198. Vision is requiring Ms. Henderson to pay $225 per month for property

 taxes, which adds up to $2,700 per year. However, Ms. Henderson’s property tax

 bill over the past six years has averaged out to $1,974 per year. Moreover, Vision

 has failed to pay out for the taxes since 2018, despite collecting more than enough

 money from Ms. Henderson to pay her property taxes. Ms. Henderson recently

 received a notice of tax foreclosure for her home.

       199. The excess escrow funds Vision has required from Ms. Henderson

 amount to an additional hidden finance charge. Factoring in the padded escrow, Ms.

 Henderson’s annual percentage rate was at least 9.867%. Vision did not disclose this

 interest rate to Ms. Henderson through its written contract or in oral representations.

       200. However, the true annual percentage rate was likely significantly

 higher. Vision typically offered homes for a lower cash price compared to the LOP

 price. Ms. Henderson does not recall that difference for her home. On information

 and belief, Vision charged Ms. Henderson an annual percentage rate well above 11%

 when factoring in the hidden finance charges of the inflated purchase price and



                                           61
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.368 Filed 01/29/21 Page 62 of 109




 padded escrow charges. Vision did not disclose this interest rate to Ms. Henderson

 through its written contract or in oral representations. The average prime offer rate

 at the time of Ms. Henderson’s transaction was approximately 3.73%.

       201. Vision has failed to conduct an annual escrow analysis, failed to return

 excess escrow surplus to Ms. Henderson, and failed to make timely payments out of

 escrow for the required property taxes for the home.

       202. In over six years living in this home and making payments, Ms.

 Henderson has never received a monthly statement from Vision or one of its

 affiliated LLCs. If she had received a monthly statement, including payments

 received by Vision and payments made out of escrow, it would have helped her to

 realize that Vision was over-collecting for property taxes and also was not making

 timely property tax payments.

       203. Ms. Henderson has been paying faithfully on the contract for over six

 years. She is current on her payments. She learned recently that after seven years of

 making payments, rather than owning the house outright, she will still owe nearly

 the full purchase price. Her remaining balance owed as of the filing of this action is

 approximately $35,600, only $4,000 less than when she started.

       204. At this point, Ms. Henderson has made this house a home and wants to

 continue living there with her family. She has invested a substantial amount of her

 income and labor into it. She has paid Vision roughly $40,000 in payments over this



                                          62
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.369 Filed 01/29/21 Page 63 of 109




 time period; yet according to Vision, she still owes over $35,000 of the purchase

 price.

 B.       Roberta Faulks

          205. Roberta Faulks is a seventy-year-old Black woman who lives in Inkster.

          206. Ms. Faulks has lived in her home in Inkster since entering into a home

 purchase contract with Vision in 2016.

          207. Ms. Faulks found Vision while researching rent-to-own homes in

 Inkster.

          208. When Ms. Faulks looked at the homes listed on Vision’s website,

 Vision provided a lockbox code and instructed her to go and view the house on her

 own. No Vision representative ever met with her in person.

          209. The house was listed by Vision as being for sale for $44,900 if

 purchased through Vision’s LOP program. This is the price for the property as stated

 in Ms. Faulks’s contract with Vision, as described below. Ms. Faulks does not recall

 any cash price Vision was asking for the home.

          210. Unbeknownst to Ms. Faulks, Vision, through its affiliated entity Kaja

 Holdings 2 LLC, had purchased the property from the Wayne County Treasurer for

 $8,200 approximately two years prior to selling it to her for $44,900, a more than

 five-fold markup. Upon information and belief, Vision did not make any repairs or

 improvements to the property before entering the contract to sell it to Ms. Faulks for



                                           63
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.370 Filed 01/29/21 Page 64 of 109




 over five times what Vision had paid for it.

           211. After signing the contract and moving in, Ms. Faulks learned the

 electricity needed to be grounded and rewired. There was damage around the

 chimney that caused water to leak into the basement. The house’s flooring was also

 damaged, and Ms. Faulks had to clean and varnish it. She also had to replace the hot

 water heater.

           212. Despite the many repairs Ms. Faulks has already made to her home,

 there is still much work to be done. The kitchen floor is separating, the roof is

 leaking, the plumbing backs up with water when she runs the dishwasher, and the

 windows need to be replaced.

           213. Before retiring, Ms. Faulks was a civil servant who worked for the

 state’s mental health services and as an officer for the state department of

 corrections. She has no professional experience in finance, home lending, or real

 estate.

           214. When she applied to purchase the home from Vision, Ms. Faulks’s

 income was roughly $1,400 per month in Social Security benefits.

           215. On information and belief, Vision did not verify Ms. Faulks’s ability to

 afford the obligations of the contract, especially considering her other expenses, full

 debt-to-income ratio, and the cost of repairs necessary to bring the home into

 habitable condition.



                                             64
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.371 Filed 01/29/21 Page 65 of 109




       216. Ms. Faulks never met with any Vision representative or agent in person.

 The closing of the transaction was conducted by mail. Ms. Faulks was asked to sign

 the papers in front of a notary and return them.

       217. Ms. Faulks was not advised nor required to obtain an inspection of the

 home before entering into the contract, and Vision did not obtain an appraisal.

       218. The contract between Vision (through its related entity, Kaja Holdings

 2, LLC) and Ms. Faulks is captioned “Residential Lease with Option to Purchase

 Agreement (Triple-Net, Bondable Lease)” and is attached as Exhibit B. The contract

 was entered into on May 15, 2016.

       219. The contract stated that the purchase price was $44,900. Ms. Faulks

 was required to send $1,770 for a down payment and her first monthly payment. Her

 initial payment was $520 (it has since increased to $535) per month. This monthly

 payment included $125 per month for property taxes and $30 per month for

 insurance. In the middle of a paragraph the contract states that only $98.96 of this

 monthly payment was credited to the purchase price each month.

       220. Despite the contract’s written terms, Ms. Faulks did not understand, and

 was not informed orally by Vision’s sales representative, that in fact only a small

 fraction of her monthly payment ($98.96 out of $520 per month) was being applied

 to the purchase price.

       221. Ms. Faulks had no understanding, and was not informed (through the



                                          65
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.372 Filed 01/29/21 Page 66 of 109




 contract’s written terms or in oral representations), that if she made every single

 payment on time, at the end of the seven-year term she would still owe $35,337.36

 of the $44,900 purchase price.

       222. Based on the monthly payment amount and the amount being applied

 to the principal balance each month for the seven year “lease-option” period, Vision

 extended Ms. Faulks credit of $43,650 (the purchase price minus the down payment)

 at an 8% annual interest rate.

       223. On information and belief, Vision calculated Ms. Faulks’s monthly

 payment based on a principal balance of $43,650, an interest rate of 8%, and a

 payment term of 240 months (20 years). On information and belief, Vision intended

 to convert Ms. Faulks to a land contract with a 20-year term (with 13 years

 remaining) after the initial seven-year period.

       224. Vision never disclosed to Ms. Faulks, through its written contract or in

 oral representations, that she was being charged an 8% annual interest rate.

       225. Vision never disclosed to Ms. Faulks, through its written contract or in

 oral representations, that the contract had an amortization term of 240 months and a

 payment schedule of 240 months.

       226. Vision never orally disclosed to Ms. Faulks that the payments required

 by her contract would not pay off the purchase price in seven years, but rather it

 would take her 20 years making this payment to complete the purchase of her home.



                                           66
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.373 Filed 01/29/21 Page 67 of 109




       227. Vision did not disclose to Ms. Faulks, through its written contract or in

 oral representations, the finance charge, annual percentage rate, the total number of

 payments required for Ms. Faulks to own the home, the amount of the purchase price

 that would be owed at the end of the seven-year period, or the fact that a security

 interest in the home was taken.

       228. Vision has also required Ms. Faulks to pay into an escrow account that

 is meant to cover the property taxes for the home.

       229. City and county records indicate that Vision has not paid taxes on the

 house timely each year. Vision has not yet paid the Summer or Winter 2019 taxes,

 which were due by August 31, 2019 and January 31, 2020, respectively. And Vision

 has not yet paid the Summer 2020 property taxes, which were due by August 31,

 2020. Ms. Faulks was not aware that Vision has not been making the required

 property tax payments on her home.

       230. Vision is requiring Ms. Faulks to pay $125 per month for property

 taxes, which adds up to $1,500 per year. However, Ms. Faulks’s property tax bill

 over the past six years has averaged out to $1,431 per year. Moreover, Vision has

 failed to pay out for the taxes since 2019, despite collecting more than enough money

 from Ms. Faulks to pay her property taxes.

       231. The excess escrow funds Vision has required from Ms. Faulks amount

 to an additional hidden finance charge. Factoring in the padded escrow, Ms. Faulks’s



                                          67
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.374 Filed 01/29/21 Page 68 of 109




 annual percentage rate was over 8%. Vision did not disclose this interest rate to Ms.

 Faulks through its written contract or in oral representations.

       232. However, the true annual percentage rate was likely significantly

 higher. Vision typically offered homes for a lower cash price compared to the LOP

 price. Ms. Faulks does not recall that difference for her home. On information and

 belief, Vision charged Ms. Faulks an annual percentage rate well above 11% when

 factoring in the hidden finance charges of the inflated purchase price and padded

 escrow charges. Vision did not disclose this interest rate to Ms. Faulks through its

 written contract or in oral representations. The average prime offer rate at the time

 of Ms. Faulks’s transaction was approximately 3.28%.

       233. Vision has failed to conduct an annual escrow analysis, failed to return

 excess escrow surplus to Ms. Faulks, and failed to make timely payments out of

 escrow for the required property taxes for the home.

       234. In four years living in this home and making payments, Ms. Faulks has

 never received a monthly statement from Vision or one of its affiliated LLCs. If she

 had received a monthly statement, including payments received by Vision and

 payments made out of escrow, it would have helped her to realize that Vision was

 over-collecting for property taxes and also was not making timely property tax

 payments.

       235. On information and belief, Vision has never reported the payments to



                                           68
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.375 Filed 01/29/21 Page 69 of 109




 the credit bureaus and is not helping her improve her credit.

       236. Ms. Faulks has been paying faithfully on her Vision contract for four

 years. She recently learned that after seven years of making payments, she will still

 owe nearly $35,500, more than three-quarters of the purchase price.

       237. At this point, Ms. Faulks has invested a significant amount of money

 into this home, with the risk of losing it all. She now realizes Vision is still claiming

 she owes a significant balance. She fears being unable to sell the home if she ever

 needs to move into an apartment due to her physical needs as she ages.

 C.    Rachel Church

       238. Rachel Church is a thirty-four-year-old white woman who lives with

 her fiancé, Tyler Sturgeon, and their two children at their home in Mt. Morris.

       239. Ms. Church has lived in her home in Mt. Morris since entering into a

 home purchase contract with Vision in 2015.

       240. Ms. Church found out about the opportunity to purchase a home from

 Vision when she saw a yard sign in front of a house in Mt. Morris.

       241. Ms. Church had never owned a home before. She had been renting a

 mobile home immediately before entering the contract with Vision and wanted to

 own a home where her children could play outside.

       242. She reviewed a list of properties Vision had available for purchase and

 looked at several homes, including the home she decided to purchase.



                                            69
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.376 Filed 01/29/21 Page 70 of 109




       243. Vision provided a lockbox code and instructed her to go and view the

 house. No Vision representative ever met with her in person.

       244. The house was listed by Vision as being for sale for $74,900 if

 purchased through Vision’s rent-to-own program. This is the price for the property

 as stated in Ms. Church’s contract with Vision, as described below. Ms. Church does

 not recall a lower cash price for the home.

       245. Unbeknownst to Ms. Church, Vision, through its affiliated entity Kaja

 Holdings 2, LLC, had purchased the property from Bank of America for $16,255

 approximately three months before it sold the home to her for $74,900. Upon

 information and belief, Vision did not make any repairs or improvements to the

 property before entering the contract to sell it to Ms. Church for over 4.6 times what

 Vision had paid for it.

       246. When she viewed the property, Ms. Church thought the home looked

 like a fixer-upper with mostly cosmetic problems. She saw some mold, water

 damage, and holes in the wall, and the carpet needed repair.

       247. After signing the contract and moving in, Ms. Church discovered the

 condition of the house was much worse than she realized. The electrical system did

 not work and was not up to code, there was no running water because the pipes were

 not winterized and had burst, the furnace and water heater did not function, the

 foundation was crumbling, and the roof needed repairs. Since signing the contract,



                                          70
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.377 Filed 01/29/21 Page 71 of 109




 she has spent at least $10,000 on repairs and materials to make the home habitable,

 including fixing the plumbing, redoing the floors, and fixing the furnace and water

 heater. Although she has purchased materials to fix the electrical system, she cannot

 afford the installation costs, and as a result, parts of the house still have no power.

 The house continues to have persistent leaks.

        248. At the time that Ms. Church was applying to purchase the home, she

 was making roughly $10 per hour at a manufacturing job.

        249. On information and belief, Vision did not verify Ms. Church’s ability

 to afford the obligations of the contract, especially considering her other expenses,

 full debt-to-income ratio, and the cost of repairs necessary to bring the home into

 habitable condition.

        250. Ms. Church has no professional experience in finance, home lending,

 or real estate.

        251. Ms. Church never met with any Vision representative or agent in

 person. The closing of the transaction was conducted by mail. Ms. Church was asked

 to sign the papers in front of a notary and return them in a pre-paid envelope.

        252. Ms. Church was not advised nor required by Vision to obtain an

 inspection of the home, and Vision did not obtain an appraisal.

        253. The contract between Vision (through its related entity, Kaja Holdings

 2, LLC) and Ms. Church is captioned “Residential Lease with Option to Purchase



                                           71
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.378 Filed 01/29/21 Page 72 of 109




 Agreement (Triple-Net, Bondable Lease)” and is attached as Exhibit C. The contract

 was entered into on October 1, 2015.

       254. The contract stated that the purchase price was $74,900. Ms. Church

 was required to send $3,832 for a down payment and the first monthly payment. She

 was then required to pay $832 per month. This monthly payment included $190 per

 month for property taxes and $40 per month for general liability insurance. In the

 middle of a paragraph the contract states that only $162.73 of this monthly payment

 was credited to the purchase price each month.

       255. Despite the contract’s written terms, Vision’s sale representative led

 Ms. Church to believe that her entire monthly payment would go toward the

 purchase price of the home, and that by the end of the seven-year period, she would

 own the house outright.

       256. Despite the contract’s written terms, Ms. Church did not understand,

 and was not informed orally by Vision’s sales representative, that in fact only a small

 fraction of the monthly payment ($162.73 out of $832 per month) was being applied

 to the purchase price.

       257. She had no understanding, and was not informed (through the contract’s

 written terms or in oral representations), that if she made every single payment on

 time, at the end of the seven-year term she would still owe $58,230 of the $74,900

 purchase price.



                                           72
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.379 Filed 01/29/21 Page 73 of 109




       258. Based on the monthly payment amount and the amount being applied

 to the principal balance each month for the seven year “lease-option” period, Vision

 extended Ms. Church credit of $71,900 (the purchase price minus the down

 payment) at an 8% annual interest rate.

       259. On information and belief, Vision calculated Ms. Church’s monthly

 payment based on a principal balance of $71,900, an interest rate of 8%, and a

 payment term of 240 months (20 years). On information and belief, Vision intended

 to convert Ms. Church to a land contract with a 20-year term (with 13 years

 remaining) after the initial 7-year period.

       260. Vision never disclosed to Ms. Church, through its written contract or in

 oral representations, that she was being charged an 8% annual interest rate.

       261. Vision never disclosed to Ms. Church, through its written contract or in

 oral representations, that the contract had an amortization term of 240 months and a

 payment schedule of 240 months.

       262.    Vision never orally disclosed Ms. Church that the payments required

 by the contract would not pay off the purchase price in seven years, but rather it

 would take 20 years making this payment to complete the purchase of the home.

       263. Vision did not disclose to Ms. Church, through its written contract or

 in oral representations, the finance charge, annual percentage rate, the total number

 of payments required for Ms. Church to own the home, the amount of the purchase



                                           73
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.380 Filed 01/29/21 Page 74 of 109




 price that would be owed at the end of the seven-year period, or the fact that a

 security interest in the home was taken.

       264. Vision has also required Ms. Church to pay into an escrow account that

 is meant to cover the property taxes for the home.

       265. City and county records indicate that Vision has not paid taxes on the

 house timely each year. On information and belief, Vision has not yet paid the

 Summer or Winter 2019 taxes, which were due by August 31, 2019 and January 31,

 2020, respectively. And Vision has not yet paid the Summer 2020 property taxes,

 which were due by August 31, 2020. Ms. Church was not aware that Vision has not

 been making the required property tax payments on their home. Ms. Church is at

 risk of tax foreclosure in 2022 due to Vision’s failure to pay the 2019 taxes, which

 could lead to her eventual eviction from her home.

       266. Vision is requiring Ms. Church to pay $190 per month for property

 taxes, which adds up to $2,280 per year. However, Vision has failed to pay out for

 the taxes since 2019, despite collecting this amount from Ms. Church to pay her

 property taxes.

       267. The true annual percentage rate in the transaction was likely

 significantly higher that 8%. Vision typically offered homes for a lower cash price

 compared to the LOP price. Ms. Church does not specifically recall whether Vision

 made her a cash price offer, but such an offer was Vision’s typical practice. On



                                            74
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.381 Filed 01/29/21 Page 75 of 109




 information and belief, Vision charged Ms. Church an annual percentage rate well

 above 11% when factoring in the hidden finance charges of the inflated purchase

 price and padded escrow charges. Vision did not disclose this interest rate to Ms.

 Church through its written contract or in oral representations. The average prime

 offer rate at the time of Ms. Church’s transaction was approximately 3.45%.

       268. Vision has failed to conduct an annual escrow analysis, failed to return

 any excess escrow surplus to Ms. Church, and failed to make timely payments out

 of escrow for the required property taxes for the home. Ms. Church recently received

 a notice of tax foreclosure for her home.

       269. In nearly five years living in this home and making payments, Ms.

 Church has never received a monthly statement from Vision or one of its affiliated

 LLCs. If she had received a monthly statement, including payments received by

 Vision and payments made out of escrow, it would have helped her to realize that

 Vision was not making timely property tax payments.

       270. Ms. Church has been making payments to Vision under the contract for

 nearly five years. At one point, she fell behind on her payments for approximately

 three or four months and faced aggressive threats of eviction by Vision. But she paid

 the overdue amount and is now current on the contract.

       271. She learned after signing the contract that only a small portion of her

 monthly payment is being applied to the purchase price, and that after seven years



                                             75
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.382 Filed 01/29/21 Page 76 of 109




 of making payments, rather than owning the house outright, she will still owe

 roughly $58,230.

       272. At this point, Ms. Church is unsure of her rights, frustrated by the

 misrepresentations and unfairness of the transaction, and believes she owes more

 than the home is currently worth, despite having paid nearly $50,000 in payments

 over the past five years.

                             VI.   CLASS ALLEGATIONS

       273. Plaintiffs bring this action on their own behalf and on behalf of a class

 of all other persons similarly situated (the “Class”), pursuant to Rule 23 of the

 Federal Rules of Civil Procedure (“Rule 23”).

       274. Specifically, Plaintiffs seek to certify a Class for purposes of

 determining liability, as well as crafting appropriate injunctive and declaratory relief,

 pursuant to Rules 23(a), 23(b)(2), and 23(c)(4).

       275. Plaintiffs also bring this class action pursuant to Rules 23(a) and

 23(b)(3) seeking monetary damages, disgorgement, and any other monetary relief

 on behalf of the Class.

       276. Plaintiffs request that this Court certify the Class of all persons who

 have entered into a “LOP” contract with Vision in the Detroit CSA from January 1,

 2013 to December 31, 2019. All Named Plaintiffs are members of the Class they

 seek to represent.



                                            76
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.383 Filed 01/29/21 Page 77 of 109




       277. Plaintiffs also request that this Court certify a subclass of all Black

 homebuyers who have entered into a “LOP contract” with Vision from January 1,

 2013 to December 31, 2019 (the “Subclass”). Named Plaintiffs Rhonda Henderson

 and Roberta Faulks are members of the Subclass they seek to represent.

       278. Plaintiffs reserve the right to modify or amend the definition of the

 proposed Class and Subclass before the Court determines whether certification is

 appropriate.

       279. Excluded from the Class and the Subclass are:

                a) Vision Property Management, LLC; FTE Networks, Inc.; US

                   Home Rentals, LLC; the Affiliate Defendants; Atalaya Capital

                   Management LP; Antoni Szkaradek; Alex Szkaradek and any

                   entities in which they have a controlling interest;

                b) Any entities in which Vision Property Management, LLC; FTE

                   Networks, Inc.; US Home Rentals, LLC; Atalaya Capital

                   Management LP; or the Affiliate Defendants’ officers, directors,

                   or employees are employed and any of the legal representatives,

                   heirs, successors or assigns of Vision Property Management,

                   LLC; FTE Networks, Inc.; US Home Rentals, LLC; Atalaya

                   Capital Management LP; the Affiliate Defendants; Antoni

                   Szkaradek; and Alex Szkaradek;



                                         77
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.384 Filed 01/29/21 Page 78 of 109




                 c) The Judge to whom this case is assigned and any member of the

                    Judge’s immediate family and any other judicial officer assigned

                    to this case; and

                 d) Any attorneys representing the Plaintiffs or the Class.

       280. Numerosity—Fed. R. Civ. P. 23(a)(1). Joinder of all Class members is

 impracticable because of the size of the Class. Vision acquired close to 1,000 single-

 family homes in the Detroit CSA from 2002 to the present and acquired the vast

 majority of these from 2011 to 2015. Vision was entering into LOP contracts with

 potential homebuyers on these properties from 2013 to 2019. Plaintiffs are informed

 and believe that the Class includes over a thousand homebuyers because although

 some properties remained vacant, other properties were involved in multiple

 homebuyer transactions in rapid succession over the time period of 2013 to the

 present.

       281. Predominance of Common Questions—Fed. R. Civ. P. 23(a)(2),

 23(b)(3). The claims alleged on behalf of the Class and Subclass raise questions of

 law and fact that are common to the Class and Subclass and predominate over

 questions affecting only individual members because all Class members and

 Subclass members entered into the same form of transaction on the basis of the same

 or similar misrepresentations, with the same lack of accurate disclosures regarding




                                          78
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.385 Filed 01/29/21 Page 79 of 109




 the cost of credit, and involving single-family homes with the same or similar

 defects. Common questions of law and fact include, among others:

       (i) whether Vision intentionally targeted Black homebuyers in violation of the

 FHA and ECOA;

       (ii) whether Vision’s policies and practices have a disparate impact on Black

 homebuyers in violation of the FHA and ECOA;

       (iii) whether any disparate impact is justified by business necessity;

       (v) whether Defendants failed to properly handle consumer escrow accounts

 for taxes and insurance as required by RESPA; and

       (vii) whether the Class members are entitled to injunctive relief and statutory

 damages they seek.

       282. Typicality—Fed. R. Civ. P. 23(a)(3). The claims of the class

 representatives are typical of the Class because the Class representatives entered into

 the same type of transaction as the other Class members on the basis of the same or

 similar misrepresentations, with the same lack of accurate disclosures regarding the

 cost of credit, and involving single-family homes with the same or similar defects.

       283. Adequacy—Fed. R. Civ. P. 23(a)(4); 23(g)(1). Plaintiffs are adequate

 representatives of the Class and Subclass because they fit with the Class and

 Subclass definition and their interests do not conflict with the interests of the

 members of the Class and Subclass they seek to represent. Plaintiffs are represented



                                           79
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.386 Filed 01/29/21 Page 80 of 109




 by the undersigned attorneys (“Class Counsel”) from well-resourced public interest

 organizations with decades of relevant experience. Class Counsel have litigated

 numerous class actions, including but not limited to civil rights, fair housing, and

 consumer cases brought under FHA and ECOA, among other causes of action. Class

 Counsel intend to prosecute this action vigorously for the benefit of the entire Class

 and Subclass. Plaintiffs and Class Counsel can fairly and adequately protect the

 interests of all of the members of the Class and Subclass.

        284. Superiority—Fed. R. Civ. P. 23(b)(3). The class action is the best

 available method for the efficient adjudication of this litigation because individual

 litigation of the Class and Subclass members’ claims would be impracticable and

 individual litigation would be unduly burdensome to the courts due to the size of the

 Class and Subclass. Further, individual litigation has the potential to result in

 inconsistent or contradictory judgments. A class action in this case presents fewer

 management problems and provides the benefits of single adjudication, economies

 of scale, and comprehensive supervision by a single court. As a result, a class action

 is superior to other available methods for fairly and efficiently adjudicating this

 litigation.

        285. Class Certification is appropriate under Rules 23(b)(2) and 23(c)(4)

 because the defendants have acted or refused to act on grounds generally applicable




                                          80
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.387 Filed 01/29/21 Page 81 of 109




 to the Class and/or the Subclass, making appropriate declaratory and injunctive relief

 with respect to the Plaintiffs, the Class, and the Subclass.

             VII. INJURY TO INDIVIDUAL NAMED PLAINTIFFS

       286. Each of the Plaintiffs has been injured by Vision’s abusive contract

 terms. Specifically, they have spent significant amounts of money and hours of their

 own labor on repairs and improvements to a home that is not legally titled in their

 names. They have paid money for the property taxes on a property not legally titled

 in their names, and Vision has not even properly used that money to pay the taxes.

 They have been charged an inflated purchase with high finance charges. They have

 the risk of eviction, and in some cases threats of eviction, despite the fact they were

 assured they were becoming homeowners.

       287. Each of the Plaintiffs has suffered significant emotional harm caused

 by Vision’s racially discriminatory and abusive contract terms. Upon learning that

 they do not have the rights and protections of a homeowner, contrary to what they

 were told, Plaintiffs have experienced surprise, frustration, anger, and a feeling of

 having been duped. They have suffered anxiety knowing that they could lose their

 home at any moment through a summary eviction, with no opportunity to protect

 themselves or their hard-earned, but apparently illusory, equity in a home. They have

 worried over the prospect of themselves and their spouses and children becoming

 homeless.



                                           81
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.388 Filed 01/29/21 Page 82 of 109




           288. Vision’s illegal discrimination has caused Plaintiffs to suffer

 irreparable loss and injury, including, but not limited to, humiliation,

 embarrassment, emotional distress, financial loss, and deprivation of their civil

 rights.

           289. None of the Plaintiffs discovered the discrimination underlying

 Vision’s rent-to-own transactions before they consulted with an attorney no earlier

 than April 2020. Plaintiffs could not have reasonably discovered the discrimination

 independently because the information about Vision’s discrimination was not known

 to them until explained to them by counsel.

                            VIII. CAUSES OF ACTION

                                   COUNT ONE
            Violation of the Fair Housing Act, 42 U.S.C. §§ 3604, 3605
  Plaintiffs Henderson and Faulks Against VPM, VPM Holdings, Atalaya, the
               Successor Defendants, and the Affiliate Defendants

           290. Plaintiffs Henderson and Faulks, on behalf of themselves and the

 Subclass, re-allege and re-plead all the allegations of the preceding and subsequent

 paragraphs of this Complaint and incorporate them herein by reference.

           291. VPM and the Affiliate Defendants acted jointly. The Affiliate

 Defendants were created by VPM to hold legal title to the properties acquired for

 Vision’s predatory LOP scheme. Each of the Affiliate Defendants (except ACM

 Vision V, the ownership of which is described above) is owned 49.5% by Alex

 Szkaradek, 49.5% by Antoni Szkaradek, and 1% by VPM Holdings LLC. The

                                         82
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.389 Filed 01/29/21 Page 83 of 109




 Affiliate Defendants are listed as the counter-party in every LOP contract, although

 Vision conducted all business on their behalf. For purposes of this Count, “Vision”

 refers collectively to VPM, VPM Holdings, and the Affiliate Defendants.

       292. The FHA bars practices that “otherwise make unavailable or deny” a

 dwelling to any person on the basis of race or other protected characteristic. 42

 U.S.C. § 3604(a) (“Section 3604(a)”).

       293. The FHA also prohibits discrimination in the “terms, conditions, or

 privileges of sale or rental of a dwelling, or in the provision of services or facilities

 in connection therewith” because of membership in a protected class. Id. at (b)

 (“Section 3604(b)”).

       294. Additionally, the FHA makes it unlawful to discriminate on the basis

 of race against any person in a residential real estate transaction such as the making

 or purchasing of loans or providing other financial assistance. 42 U.S.C. § 3605(a)

 (“Section 3605”). The FHA defines such transactions as “the making or purchasing

 of loans or providing other financial assistance for purchasing, constructing,

 improving, repairing, or maintaining a dwelling.” Id. at (b).

       295. Vision engaged in residential real estate transactions with respect to

 Plaintiffs Henderson, Faulks, and the members of the Subclass by making each of

 them a loan for the purchase of residential real estate.

       296. Plaintiffs Henderson, Faulks, and the Subclass are members of a



                                            83
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.390 Filed 01/29/21 Page 84 of 109




 protected class on the basis of race under the FHA because they are Black.

       297. By the actions described throughout this Complaint, Vision has

 engaged in, and will continue to engage in, a practice of discrimination against Black

 residents of Detroit due to their race, or the racial composition of their neighborhood,

 in violation of the FHA. Vision’s actions violated Sections 3604(a), 3604(b), and

 3605 of the FHA and constitute actionable discrimination on the basis of race.

       298. Vision’s discriminatory practice of acquiring properties through REO

 bulk sales, which are disproportionately located in majority and predominantly

 Black neighborhoods of the Detroit CSA, has a disproportionate and unjustified

 impact on Black residents.

       299. This practice caused and continues to cause a predictable and actual

 harmful disparate impact on Black communities and Black homebuyers, including

 Plaintiffs Henderson, Faulks, and the members of the Subclass. Because Vision

 purchased properties in predominantly Black areas of the Detroit CSA through REO

 bulk sales, Black homebuyers are and were disproportionately more likely to be

 impacted by Vision’s practices, resulting in harmful effects such as eviction, loss of

 their home, the inability to build equity, paying an inflated purchase price and high

 finance charges, paying for property taxes on a home they did not legally own, and

 often having Vision fail to pay the taxes despite collecting for them, making

 significant repairs to a home they did not legally own, being told the home would be



                                           84
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.391 Filed 01/29/21 Page 85 of 109




 paid for within seven years when in fact a much longer term was required, and the

 onerous terms required by Vision’s contracts.

         300. The past and continuing acts and conduct of Vision have had and will

 continue to have a harmful disparate impact on Black residents of Detroit, in

 violation of the federally protected rights of Plaintiffs Henderson, Faulks, and the

 members of the Subclass.

         301. Vision’s discriminatory practice is an artificial, arbitrary, and

 unnecessary barrier to housing. For example, Vision engaged in a practice of

 purchasing its properties through REO bulk sales, which substantially increased the

 likelihood that its properties would be concentrated in majority—and even

 supermajority—Black neighborhoods, despite the availability of properties of

 comparable home value in other neighborhoods. Thus, Vision could have operated

 its business without purchasing properties in predominantly Black neighborhoods.

         302. Vision’s discriminatory practice is not justified by one or more

 substantial, legitimate, nondiscriminatory interests. To the extent Vision may claim

 that its practice is justified by a substantial, legitimate, nondiscriminatory interest,

 that interest may be achieved by less discriminatory means.

         303. Vision’s practice is also intentionally discriminatory on the basis of

 race.

         304. Vision’s contracts, as described throughout this Complaint, are unfair



                                           85
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.392 Filed 01/29/21 Page 86 of 109




 and predatory. As described above, Vision’s contracts obscure the high interest rate

 and true payment period required to complete purchase of the home. Vision led

 homebuyers to believe they would own the home after seven years of payment, when

 in fact, at the end of seven years they would still owe nearly the whole purchase

 price. Vision sells properties in extremely poor condition, which are sold “as is” to

 would-be homeowners, who invest thousands of dollars and countless hours of their

 own labor making the home habitable, only to lose all of that investment and all of

 the money paid under the contract in the event of a default. Unlike a homeowner

 with a mortgage, who is entitled to keep the benefit of their labors and financial

 investment in a home, Vision’s purchasers do not accrue that benefit nor build any

 equity. And unlike a homeowner with a mortgage, who is entitled to the protections

 of the foreclosure process in the event of default on their loan, Vision’s purchasers

 can be removed through summary eviction proceedings, which Vision frequently

 threatens in the event of late payments.

       305. Vision’s business model involves targeting credit-starved Black

 communities for its predatory and abusive home purchase transactions because of

 the race of their residents. Vision’s targeting of these areas has been effective

 precisely because these Black potential homebuyers lacked access to traditional

 mortgage lending, which was extremely tight over the relevant time period.

       306. By employing different, deliberate property acquisition strategies in



                                            86
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.393 Filed 01/29/21 Page 87 of 109




 certain metropolitan areas, and utilizing a racially targeted marketing strategy while

 knowing that the homes it was selling were located overwhelmingly in Black

 neighborhoods within the Detroit CSA, Vision engaged in a pattern and practice of

 intentionally targeting Black homebuyers and residents of predominantly Black

 neighborhoods in the Detroit CSA for its predatory and abusive home purchase

 transactions because of their race.

       307. Vision’s actions were intentional, wanton, malicious, and taken in

 reckless disregard of the civil rights of Plaintiffs Henderson, Faulks, and the

 members of the Subclass because of their race.

       308. Plaintiffs Henderson, Faulks, and the members of the Subclass are

 aggrieved persons as defined by Section 3602(i) of the FHA by virtue of having been

 subject to Vision’s discriminatory practice. 42 U.S.C. § 3602(i).

       309. As a proximate result of Vision’s discriminatory practice, Plaintiffs and

 the Class members have suffered economic loss, mental anguish, deprivation of civil

 rights, and the prospective loss of their homes.

       310. Vision has maintained its practice continuously, and it represents a

 continuing violation of 42 U.S.C. §§ 3601 et seq.

       311. Liability under 42 U.S.C. §§ 3601 et seq. extends beyond entities that

 owned or disposed of property and may also reach those who assist in those

 transactions of ownership and disposition. Defendant Atalaya knew or should have



                                          87
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.394 Filed 01/29/21 Page 88 of 109




 known that Vision was engaged in the violations of the FHA described in this Count

 and assisted, participated in, and facilitated these violations.

       312. Atalaya enabled Vision’s discriminatory actions by acting as the

 primary funder of Vision’s property acquisitions and helping design the predatory

 and abusive terms of its LOP contracts that Vision marketed to Black communities

 through targeted advertising. Atalaya knew detailed information about Vision’s

 business model, including its discriminatory practice of acquiring properties through

 REO bulk sales in the Detroit CSA. On information and belief, Atalaya’s review of

 Vision’s business model included information related to Vision’s marketing and

 advertising practices. Atalaya also participated in decisions regarding individual

 properties and contracts that were in default.

       313. Atalaya created Defendant ACM Vision V LLC in 2013 for the purpose

 of directly purchasing Vision properties in active LOP contracts. ACM Vision V is

 owned 98% by Atalaya’s investment fund and 1% each by Alex and Antoni

 Szkaradek.

       314. On information and belief, ACM Vision V is managed by Atalaya and

 had the same knowledge of Vision’s business model and practices.

       315. As with the other Affiliate Defendants, ACM Vision V held legal title

 to properties acquired through Vision’s discriminatory bulk sales practice and

 acquired for Vision’s predatory LOP scheme targeting Black communities.



                                            88
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.395 Filed 01/29/21 Page 89 of 109




       316. ACM Vision V purchased properties with active LOP contracts from

 Vision, including at least 70 properties in the Detroit CSA. Many of these properties

 were located in majority Black Census tracts. ACM Vision V was the assignee and

 creditor of these transactions and became the counterparty on the LOP contracts.

 ACM Vision V held properties in Michigan that it had acquired from Vision up

 through 2020. ACM Vision V has filed at least 14 evictions against occupants of

 properties it acquired from Vision.

       317. The Successor Defendants are liable for the violations carried about by

 Vision and the Affiliate Defendants, since they succeeded to all assets and liabilities

 except for the excluded liabilities, and these legal claims are not excluded in the

 purchase and sale agreement.

       318. As a result of these violations of the FHA, VPM, VPM Holdings, the

 Affiliate Defendants, Atalaya, and the Successor Defendants are liable to Plaintiffs

 Henderson, Faulks, and the members of the Subclass for:

              a)     Compensatory and punitive damages in an amount to be

       determined at trial;

              b)     Injunctive relief;

              c)     Costs and disbursements; and

              d)     Attorneys’ fees.




                                           89
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.396 Filed 01/29/21 Page 90 of 109




                                COUNT TWO
    Violation of the Equal Credit Opportunity Act, 15 U.S.C. § 1691 et seq.
  Plaintiffs Henderson and Faulks Against VPM, VPM Holdings, Atalaya, the
               Successor Defendants, and the Affiliate Defendants

       319. Plaintiffs Henderson and Faulks, on behalf of themselves and the

 Subclass, re-allege and re-plead all the allegations of the preceding and subsequent

 paragraphs of this Complaint and incorporate them herein by reference.

       320. VPM and the Affiliate Defendants acted jointly. The Affiliate

 Defendants were created by VPM to hold legal title to the properties acquired for

 Vision’s predatory LOP scheme. Each of the Affiliate Defendants is owned 49.5%

 by Alex Szkaradek, 49.5% by Antoni Szkaradek, and 1% by VPM Holdings LLC.

 The Affiliate Defendants are listed as the counter-party in every LOP contract,

 although Vision conducted all business on their behalf. For purposes of this Count,

 “Vision” refers collectively to VPM, VPM Holdings, and the Affiliate Defendants.

       321. Under ECOA, it is unlawful for “any creditor to discriminate against

 any applicant, with respect to any aspect to any aspect of a credit transaction,” on

 the “basis of race, color, religion, national origin, sex or marital status, or age.” 15

 U.S.C. § 1691(a)(1).

       322. Plaintiffs Henderson, Faulks, and the members of the Subclass are

 members of a protected class on the basis of race because they are Black.

       323. Based on all the facts alleged above, Vision’s “LOP” program is credit

 as defined by ECOA, as it involved a right granted by a creditor to purchase property

                                           90
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.397 Filed 01/29/21 Page 91 of 109




 and defer payment.

       324. Vision is a creditor as set forth in ECOA because in the ordinary course

 of its business Vision extended credit to Plaintiffs.

       325. Plaintiffs Henderson, Faulks, and the Subclass are applicants as defined

 by ECOA because they applied to a creditor directly for an extension of credit.

       326. Vision’s practice disparately impacts Black borrowers with respect to

 aspects of credit transactions in violation of 15 U.S.C. § 1691(a)(1).

       327. By the actions described throughout this Complaint, Vision has

 engaged in, and will continue to engage in, a practice of discrimination against Black

 residents of Detroit due to their race, or the racial composition of their neighborhood,

 in violation of ECOA. Vision’s actions constitute actionable discrimination on the

 basis of race.

       328. Vision’s discriminatory practice of acquiring properties through REO

 bulk sales, which are disproportionately located in majority and predominantly

 Black neighborhoods of the Detroit CSA, has a disproportionate and unjustified

 impact on Black residents.

       329. This practice caused and continues to cause a predictable and actual

 harmful disparate impact on Black communities and Black homebuyers, including

 Plaintiffs Henderson, Faulks, and the members of the Subclass. Because Vision

 purchased properties in predominantly Black areas of the Detroit CSA through REO



                                           91
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.398 Filed 01/29/21 Page 92 of 109




 bulk sales, Black homebuyers are and were disproportionately more likely to be

 impacted by Vision’s practices, resulting in their eviction and loss of their home and

 other harmful effects, including the failure to build equity and the onerous terms

 required by Vision’s contracts.

       330. The past and continuing acts and conduct of Vision have had and will

 continue to have a harmful disparate impact on Black residents of Detroit, in

 violation of the federally protected rights of Plaintiffs Henderson, Faulks, and the

 members of the Subclass.

       331. Vision’s discriminatory practice is not justified by one or more

 substantial, legitimate, nondiscriminatory interests. To the extent Vision may claim

 that its practice is justified by a substantial, legitimate, nondiscriminatory interest,

 that interest may be achieved by less discriminatory means.

       332. Vision’s practice is also intentionally discriminatory against Black

 homebuyers on the basis of race in violation of 15 U.S.C. § 1691(a)(1).

       333. Vision’s contracts, as described throughout this Complaint, are unfair

 and predatory. As described above, Vision’s contracts obscure the high interest rate

 and true payment period required to complete purchase of the home. Vision sells

 properties in extremely poor condition, which are sold “as is” to would-be

 homeowners, who invest thousands of dollars and countless hours of their own labor

 making the home habitable, only to lose all of that investment and all of the money



                                           92
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.399 Filed 01/29/21 Page 93 of 109




 paid under the contract in the event of a default. Unlike a homeowner with a

 mortgage, who is entitled to keep the benefit of their labors and financial investment

 in a home, Vision’s purchasers do not accrue that benefit nor build any equity. And

 unlike a homeowner with a mortgage, who is entitled to the protections of the

 foreclosure process in the event of default on their loan, Vision’s purchasers can be

 removed through summary eviction proceedings, which Vision frequently threatens

 in the event of late payments.

       334. Vision’s business model involves targeting credit-starved Black

 communities for its predatory and abusive home purchase transactions because of

 the race of their residents. Vision’s targeting of these areas has been effective

 precisely because these Black potential homebuyers lacked access to traditional

 mortgage lending, which was extremely tight over the relevant time period.

       335. By employing different, deliberate property acquisition strategies in

 certain metropolitan areas, and utilizing a racially targeted marketing strategy while

 knowing that the homes it was selling were located overwhelmingly in Black

 neighborhoods within the Detroit CSA, Vision engaged in a pattern and practice of

 intentionally targeting Black homebuyers and residents of predominantly Black

 neighborhoods in the Detroit CSA for its predatory and abusive LOP transactions

 because of their race.

       336. Vision’s actions were intentional, wanton, malicious, and taken in



                                          93
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.400 Filed 01/29/21 Page 94 of 109




 reckless disregard of the civil rights of Plaintiffs Henderson, Faulks, and the

 members of the Subclass because of their race.

       337. Plaintiffs Henderson, Faulks, and the members of the Subclass are

 aggrieved persons as defined by ECOA by virtue of having been parties to Vision’s

 predatory and abusive LOP transactions.

       338. As a proximate result of Vision’s discriminatory practice, Plaintiffs

 have suffered economic loss, mental anguish, deprivation of civil rights, and the

 prospective loss of their homes.

       339. Vision has maintained its practice continuously, and it represents a

 continuing violation of 15 U.S.C. § 1691(a)(1).

       340. Atalaya knew or should have known that Vision was engaged in the

 violations of the ECOA described in this Count and assisted, participated in, and

 facilitated these violations.

       341. Atalaya enabled Vision’s discriminatory actions by acting as the

 primary funder of Vision’s property acquisitions and helping design the predatory

 and abusive terms of its LOP contracts that Vision marketed to Black communities

 through targeted advertising. Atalaya knew detailed information about Vision’s

 business model, including its discriminatory practice of acquiring properties through

 REO bulk sales in the Detroit CSA. On information and belief, Atalaya’s review of

 Vision’s business model included information related to Vision’s marketing and



                                          94
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.401 Filed 01/29/21 Page 95 of 109




 advertising practices. Atalaya also participated in decisions regarding individual

 properties and contracts that were in default.

       342. As described in the factual background section, Atalaya financed the

 acquisition of the properties by VPM which VPM then offered to consumers through

 seller-financing. Atalaya’s loans to Vision were secured by collateral, including the

 properties themselves.

       343. As described above, Atalaya consulted with Vision regarding the terms

 of the LOP agreement Vision intended to use and knew that it was financing Vision’s

 bulk purchase of REO properties, including from government and quasi-government

 agencies. Atalaya, in the ordinary course of its business, participated in the credit

 decisions, including setting the terms of the transactions Vision would extend to

 consumers.

       344. Atalaya’s business involves “specialty finance.” It has made over 200

 specialty finance investments. In over 90% of the firm’s investments, it functions as

 a lender. Atalaya is a creditor under ECOA, because in the ordinary course of its

 business, it regularly extends credit and regularly participates in credit decisions,

 including setting the terms of the credit.

       345. ACM Vision V was created by Atalaya in 2013 for the purpose of

 directly purchasing properties in active LOP agreements from Vision entities. ACM

 Vision V held properties in Michigan that it had acquired from Vision up through



                                              95
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.402 Filed 01/29/21 Page 96 of 109




 2020.

         346. ACM Vision V is owned 98% by Atalaya’s investment fund and 1%

 each by Alex and Antoni Szkaradek.

         347. On information and belief, ACM Vision V is managed by Atalaya and

 had the same knowledge of Vision’s business model and practices.

         348. As with the other Affiliate Defendants, ACM Vision V held legal title

 to properties acquired through Vision’s discriminatory bulk sales practice and

 acquired for Vision’s predatory LOP scheme targeting Black communities.

         349. ACM Vision V purchased active LOP contracts from Vision, including

 at least 70 properties in the Detroit CSA. Many of these properties were located in

 majority Black Census tracts. ACM Vision V was the assignee and creditor of these

 transactions. On information and belief, as an arm of Atalaya, ACM Vision V

 participated in the decision to extend credit through Vision’s LOP program. ACM

 Vision V has filed at least 14 evictions against occupants of properties it acquired

 from Vision.

         350. The Successor Defendants are liable for the violations carried about by

 Vision and the Affiliate Defendants, since they own all the equity in those entities,

 and succeeded to all assets and liabilities except for the excluded liabilities, and these

 legal claims are not excluded in the purchase and sale agreement. The Successor

 Defendants and Vision share common ownership, and the Successor Defendants



                                            96
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.403 Filed 01/29/21 Page 97 of 109




 carry on the same business operations with the same management as Vision.

         351. As a result of these ECOA violations, VPM, VPM Holdings, the

 Affiliate Defendants, Atalaya, and the Successor Defendants are liable to Plaintiffs

 Henderson, Faulks, and the members of the Subclass for:

               a)     Compensatory and punitive damages in an amount to be

         determined at trial;

               b)     Injunctive relief;

               c)     Costs and disbursements; and

               d)     Attorneys’ fees.

                                    COUNT FIVE2
                           Violation of Truth in Lending Act
     All Plaintiffs Against VPM the Affiliate Defendants, and US Home Rentals,
                                          LLC

         352. Plaintiffs, on behalf of themselves and the Class, re-allege and re-plead

 all the allegations of the preceding and subsequent paragraphs of this Complaint and

 incorporate them herein by reference.

         353. At all times relevant hereto, VPM, in the ordinary course of its business,

 regularly extended consumer credit for which a finance charge was imposed.

         354. In the calendar years 2013, 2014, 2015, 2016, 2017, and 2018, VPM

 extended more than five loans each year primarily for personal, family, or household


 2
  Counts three, four, eight, and nine were dismissed without prejudice when the
 Court declined to exercise supplemental jurisdiction over the state law claims.

                                           97
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.404 Filed 01/29/21 Page 98 of 109




 purposes that were secured by a dwelling.

       355. The Affiliate Defendants held title to the homes and also entered into

 the transactions as a counter-party to the contract. VPM and the Affiliate Defendants

 engaged in a joint venture, in which they acted together as creditors in the

 transactions. For purposes of this Count, VPM and the Affiliate Defendants are

 jointly referred to as “Vision.”

       356. Vision extended credit to each of the Plaintiffs and the Class members

 in a consumer credit transaction. Vision was the initial payee, the loan was payable

 in more than four installments, and the extended credit was subject to a finance

 charge. In connection with these transactions, Vision acquired a security interest in

 residential real property owned by the Class members and used as their principal

 dwellings.

       357. Vision’s transactions are subject to TILA, 15 U.S.C. § 1601 et seq.

       358. Plaintiffs and the Class members are consumers as defined by TILA,

 who entered into residential mortgage loans as defined by TILA.

       359. Vision failed to make any of the disclosures required by TILA to the

 Plaintiffs and Class members, including the finance charge, annual percentage rate,

 the total number of payments required to own the home, the amount of the purchase

 price that would be owed at the end of the seven-year period, or the fact that a

 security interest in the home was taken.



                                            98
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.405 Filed 01/29/21 Page 99 of 109




       360. Vision did not conduct a reasonable, good faith evaluation of Plaintiffs

 and the Class members’ ability to afford their obligations under the contract,

 including their other debts and the obligation to make all repairs necessary to bring

 the home into habitable condition within three months of the contract’s signing.

 Upon information and belief, Vision did not conduct a reasonable evaluation of

 Plaintiffs and the Class members’ expected residual income or back-end debt-to-

 income ratio. Upon information and belief, Vision did not verify or document the

 expenses that would be necessarily to fulfill the contractual obligation to bring the

 home into habitable condition, and did not verify or document that Plaintiffs and the

 Class members could afford these expenses.

       361. Vision violated TILA and its implementing regulation, 12 C.F.R.

 § 1026 (“Regulation Z”), by failing to verify Plaintiffs and the Class members’

 ability to pay through documented income and assets.

       362. On information and belief, Vision’s transactions in the Detroit CSA

 were all “higher priced mortgage loans” as defined by TILA because the annual

 percentage rate exceeded the average prime offer rate by more than 1.5%. Over the

 time period in question, the average prime offer rate ranged from 2.8 to 4% for loans

 of the relevant repayment term. Vision’s transactions in the Detroit CSA carried

 annual percentage rates of at least 8%, using Vision’s calculations; and in almost all

 cases the annual percentage rate was in fact much higher due to a padded purchase



                                          99
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.406 Filed 01/29/21 Page 100 of 109




  price (versus the discounted cash price offered by Vision) or excess escrow

  collection.

        363. Vision violated TILA and Regulation Z by, upon information and

  belief, failing to obtain a written appraisal from a licensed or certified appraiser in

  connection with Plaintiffs and the Class members’ loans, despite the fact that all of

  Vision’s transactions in the Detroit CSA were higher priced mortgage loans.

  Plaintiffs and Class members were not provided a copy or notified of any appraisal

  of the home.

        364. Vision violated TILA and Regulation Z by, upon information and

  belief, failing to maintain an escrow account for Plaintiffs and the Class members’

  required homeowner’s insurance, despite the fact that all of Vision’s transactions in

  the Detroit CSA were higher priced mortgage loans.

        365. On information and belief, Vision’s transactions in the Detroit CSA

  were high-cost loans as defined by TILA, 15 U.S.C. § 1602(aa)(1)(A), because the

  annual percentage rate for the transactions exceeded the average prime offer rate by

  more than 6.5%. Over the time period in question, the average prime offer rate

  ranged from 2.8 to 4% for loans of the relevant repayment term. When factoring in

  the padded purchase price (versus the discounted cash price offered by Vision) and

  excess escrow collection, the annual percentage rate of Plaintiffs and the Class

  members’ transactions exceeded the average prime offer rate by more than 6.5%.



                                           100
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.407 Filed 01/29/21 Page 101 of 109




        366. Vision violated TILA and Regulation Z by failing to furnish additional

  disclosures that must be provided three days in advance of the consummation of a

  high-cost loan transaction, 15 U.S.C. § 1639(b); failing to ensure that consumers

  received counseling from an independent HUD-approved housing counselor prior to

  consummation, 12 C.F.R. § 1026.34(a)(5); charging late fees in excess of 4% of the

  unpaid payment, 12 C.F.R. § 1026.34(a)(8)(i); and failing to verify Plaintiffs and the

  Class members’ ability to pay.

        367. Vision’s transactions meet the definition of a credit sale under TILA,

  in that the consumers agreed to pay a sum substantially equal to the value of the

  home, would become the owner of the property upon compliance with the agreement

  for no or nominal consideration, and was not terminable without penalty. Vision

  failed to make the required disclosures, including failing to disclose the total sale

  price of the transaction.

        368. On information and belief, US Home Rentals is the assignee and current

  creditor, having been assigned the contracts by Vision and the Affiliate Defendants.

        369. Based on the above-described violations of TILA and Regulation Z,

  VPM, the Affiliate Defendants, and US Home Rentals are liable to Plaintiffs and

  members of the Class for:

               a)     Compensatory damages in an amount to be determined at trial;

               b)     Statutory damages;



                                           101
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.408 Filed 01/29/21 Page 102 of 109




              c)     Enhanced damages;

              d)     Costs; and

              e)     Attorneys’ fees.

                                    COUNT SIX
                Violation of Truth in Lending Act’s Servicing Rules
                             All Plaintiffs Against VPM

        370. Plaintiffs, on behalf of themselves and the Class, re-allege and re-plead

  all the allegations of the preceding and subsequent paragraphs of this Complaint and

  incorporate them herein by reference.

        371. At all times relevant hereto, VPM, in the ordinary course of its business,

  regularly extended consumer credit for which a finance charge was imposed.

        372. VPM is both the creditor and servicer in Plaintiffs and the Class

  members’ consumer transactions.

        373. The transactions at issue in this litigation are federally related mortgage

  loans for purposes of RESPA because they were made by a creditor, as defined by

  TILA, which made more than $1 million per year in loan transactions secured by a

  dwelling.

        374. At no time has VPM ever sent periodic statements to Plaintiffs and the

  Class members.

        375. Plaintiffs and the Class members have been harmed by VPM’s failure

  to send periodic statements, including by being more likely to miss a payment or pay



                                          102
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.409 Filed 01/29/21 Page 103 of 109




  late, being unaware that VPM was collecting an amount for the escrow far in excess

  of the annual property tax bill, being unaware that VPM was at times failing to pay

  the property taxes in a timely way, incurring penalties and late fees, and passing

  those along to Plaintiffs and the Class members.

        376. Based on the above-described violations of TILA and Regulation Z,

  VPM is liable to Plaintiffs and members of the Class for:

              a)     Compensatory damages in an amount to be determined at trial;

              b)     Costs; and

              c)     Attorneys’ fees.

                                  COUNT SEVEN
              Violation of the Real Estate Settlement Procedures Act,
                               12 U.S.C. § 2601 et seq.
                             All Plaintiffs Against VPM

        377. Plaintiffs, on behalf of themselves and the Class, re-allege and re-plead

  all the allegations of the preceding and subsequent paragraphs of this Complaint and

  incorporate them herein by reference.

        378. Plaintiffs and the Class members’ transactions are federally related

  mortgage loans for purposes of RESPA because they were made by a creditor as

  defined by TILA who makes more than $1 million per year in loan transactions

  secured by a dwelling.

        379. Plaintiffs and the Class members are borrowers under RESPA.

        380. VPM is a servicer as defined by RESPA because it services the covered

                                          103
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.410 Filed 01/29/21 Page 104 of 109




  loan transactions.

        381. VPM has mishandled the servicing of the escrow accounts of Plaintiffs

  and the Class members in at least the following ways: collecting funds in excess of

  the amount needed to pay required property taxes, failing to conduct an annual

  escrow analysis and calculate the proper escrow payment, failing to provide annual

  escrow statements to Plaintiffs and the Class members, failing to return surplus

  escrow funds to Plaintiffs and the Class members, and failing to make timely

  payments out of escrow.

        382. In failing to make timely disbursements out of the escrow account for

  property taxes, VPM caused penalties, fees, and interest to accrue and passed those

  additional penalties, fees, and interest on to Plaintiffs and the Class members.

        383. VPM has violated at least the following duties and requirements of

  RESPA and Regulation X, 12 C.F.R. §§ 1024.17 and 1024.34: the duty to perform

  escrow analysis and calculate proper escrow payments, the duty to provide annual

  escrow statements, the duty to timely refund escrow surpluses, and the duty to make

  timely payments out of escrow.

        384. Because of these violations, VPM is liable to Plaintiffs and the Class

  members for:

               a)      Actual damages;

               b)      Statutory damages;



                                            104
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.411 Filed 01/29/21 Page 105 of 109




               c)       Costs; and

               d)       Attorneys’ fees.



                XVII. CONCLUSION AND PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs and the Class Members respectfully pray for the

  Court to enter relief as follows:

        (1) Certify the case as a class action on behalf of the Class and Subclass;

        (2) Designate all Plaintiffs as representatives of the Class;

        (3) Designate Plaintiffs Henderson and Faulks as representatives of the

            Subclass;

        (4) Enter a declaratory judgment that the foregoing acts, policies, and practices

            of Defendants violate the Fair Housing Act of 1968, as amended, 42 U.S.C.

            § 3601, et seq., the Equal Credit Opportunity Act, 15 U.S.C. § 1691, et

            seq., the Truth In Lending Act, 15 U.S.C. § 1601 et seq., and the Real

            Estate Settlement Procedures Act, 12 U.S.C. § 2601, et seq.;

        (5) Enter a permanent injunction enjoining Defendants from engaging in the

            conduct described herein and directing Defendants to take all affirmative

            steps necessary to remedy the effects of the conduct described herein and

            to prevent additional instances of such conduct or similar conduct from

            occurring in the future, including but not limited to reforming the



                                           105
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.412 Filed 01/29/21 Page 106 of 109




          transactions to remedy their unfair and deceptive structure, requiring

          Vision to transfer title to the Class members, requiring Vision to pay the

          property taxes for so long as Vision has collected for an escrow, and to

          refund any surplus escrow funds to the Class members, and requiring VPM

          to pay off the balance of the loans now owned to Vision’s assignees;

       (6) Award compensatory damages to Plaintiffs in an amount to be determined

          by a jury that would fully compensate Plaintiffs for their injuries caused

          by the conduct of Defendants, including but not limited to compensation

          for the funds Plaintiffs have paid out of pocket and time spent on repair of

          their homes;

       (7) Award punitive damages to Plaintiffs for their claims under the Fair

          Housing Act and Equal Credit Opportunity Act in an amount to be

          determined by a jury that would punish Defendants for the willful, wanton,

          and reckless conduct alleged herein and that would effectively deter such

          conduct in the future;

       (8) Award any statutory or enhanced damages authorized by law, including

          under the Truth in Lending Act and the Real Estate Settlement Procedures

          Act;

       (9) Award Plaintiffs reasonable attorneys’ fees and costs;

       (10) Award such other and further relief as the Court deems just and proper.



                                         106
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.413 Filed 01/29/21 Page 107 of 109




  TRIAL BY JURY DEMANDED.

       This 29th day of January, 2021,

                                           By: /s/ Sarah B. Mancini
                                           NATIONAL CONSUMER LAW
                                           CENTER
                                           Sarah B. Mancini (G.B. # 319930)
                                           Stuart T. Rossman (B.B.O. #430640)
                                           7 Winthrop Square
                                           Boston, MA 02110
                                           Tel: (617) 542-8010
                                           smancini@nclc.org
                                           srossman@nclc.org

                                           AMERICAN CIVIL LIBERTIES
                                           UNION FUND OF MICHIGAN
                                           Bonsitu Kitaba-Gaviglio (P78822)
                                           Daniel S. Korobkin (P72842)
                                           2966 Woodward Avenue
                                           Detroit, Michigan 48201
                                           (313) 578-6800
                                           bkitaba@aclumich.org
                                           dkorobkin@aclumich.org

                                           MICHIGAN POVERTY LAW
                                           PROGRAM
                                           Lorray S. C. Brown (P60753)
                                           15 South Washington Street, Suite 202
                                           Ypsilanti, Michigan 48197
                                           Tel.: (734) 998-6100 ext. 613
                                           Fax.: (734) 998-9125
                                           lorrayb@mplp.org

                                           NAACP LEGAL DEFENSE
                                           AND EDUCATIONAL FUND, INC.
                                           Jennifer A. Holmes (D.C. Bar ID
                                           1018798)
                                           Coty Montag (D.C. Bar ID 498357)
                                           700 14th Street NW, Suite 600
                                           Washington, DC 20005

                                         107
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.414 Filed 01/29/21 Page 108 of 109




                                        Tel.: (202) 682-1300
                                        jholmes@naacpldf.org
                                        cmontag@naacpldf.org



                                        Attorneys for Plaintiffs and the
                                        Putative Classes




                                      108
Case 2:20-cv-12649-SFC-RSW ECF No. 77, PageID.415 Filed 01/29/21 Page 109 of 109




                              CERTIFICATE OF SERVICE

        I certify that on January 29, 2021 I electronically filed the foregoing First

  Amended Complaint with the Clerk of the Court using the ECF system which will

  send notification to the attorneys of record.


                                   Respectfully submitted,

                                   BY: s/ Sarah B. Mancini
                                    Sarah B. Mancini (G.B. # 319930)
                                    NATIONAL CONSUMER LAW
                                    CENTER
                                    7 Winthrop Square
                                    Boston, MA 02110
                                    Tel: (617) 542-8010
                                    smancini@nclc.org


  Dated:   January 29, 2021




                                           109
